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T IN THE C[RCUI'I` COURT OF THE 11th
JUDICIAL CIRCUIT IN AN]) FOR
M]AMI-DADE COUNTY, FLOR]DA

CIVIL DIVISION
Case No: 2014-32220 CA 21

PASCUAL DIAZ- PLASCENCIA,
Plaintiff,

VS.

PUBLIC HEALTH TRUST, d/b/a

JACKSON MEMORIAL HOSPITAL and

MIAMl-DADE COUNTY, FLORIDA,
Defendants.

/

AGREED ORDER REGARDING THE FILING OF THE
SECOND AMENDED COMPLAINT

This cause having come before the Court on the Plaintiff` s Motion for Leave to File the
Second Amended Complaint, and pursuant to Rule 1.190(a), Fla.R.Civ.P., and With the
agreement of Defendants Public Health Trust and Miami-Dade County, and the Court being
otherwise fully advised in the premises, it is hereby -

ORDERED and ADJUDGED as follows:

 

l. Plaintiff‘s Motion for Leave to File the Second Amended Cornplaint, dated June
3, 20]6, is hereby GRANTED;
2. Plaintiff’s Seeond Amended Complaint, dated June 3, 2016, shall be deemed
filed as of the date of this Order;
3. Defendants Public Health Trust and Miami-Dade County shali?`flle an Answer Or

Responsive Pleading within thirty (3 0) days Of the date of this Order; and

 

 

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4. Defendants Ponce, Zarnbrano, and Calderon shall file an Answer or Responsive
Pleading Within twenty (20) days of service.

DONE AND ORDERED in Chambers at Miami-Dade County, F|orida, on 06/13/16.

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file Further judicial tactian Raquirae::i on TH!S MGT§{;?§\E
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The parties served With this Order are indicated in the accompanying 11th Circuit email
confirmation which includes all emai|s provided by the submitter. The movant shall
IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimi|e, email or
hand-delivery, to all parties/counsel of record for whom service is not indicated by the
accompanying 11th Circuit confirmation, and tile proof of service With the C|erk of
Court.

Signed original order sent electronically to the C|erk of Courts for filing in the Court tile.

 

  
 

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lN THE C|RCUlT COURT OF THE 11"1
JUD|CIAL C|RCU|T lN AND FOR
lVllAl\/|l-DADE COUNTY, FLOR|DA
C|V|L DlVlS|ON
CASE NO: 2014-32220 CA 21

PASCUAL DlAZ PLASCENC!A,

Plaintiff,

vs.

PUBLIC HEALTH TRUST dib/a

JACKSON lVlElViOR|AL HOSP|TAL and

M|AMl-DADE COUNT¥, FLOR|DA,

Defendants.
l

PLA|NT|FF’S l\llOTlON FOR LEAVE TO iFILE SECOND ANIENDED COMPLA|NT

Plaintiff, through counsel, files his l\/lotion for Leave to Fi|e Second Amended
Complaint andl in support thereof, states:

1. This case is an action for medical negligence against Defendants in connection
With the care and treatment of serious personal injuries sustained by Plaintiff.

2. Plaintiff seeks leave to amend his Comp|aint in order to add a Civil Rights cause
of action under 42 U.S.C. Section 1983 against the original defendants and the
newly named defendants Calixto Calderonl Gabrie| Zambrano, and Jose Ponce.

3. Accordingly, P|aintiff seeks leave to amend his Complaint to add Defendants:

a. Calixto Calderon;
b. Gabriel Zambrano; and

c. Jose Ponce.

il FRE|DIN BROWN. P.A.
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ln supportl P|aintiff incorporates herein and attaches hereto the deposition of

Calixto Calderon as Exhibit “B," the deposition of Gabriel Zambrano as Exhibit "C,"

i the deposition of Jose Ponce as Exhibit “."D

l 4. Further1 Plaintiff seeks leave to amend to assert punitive damages based on the
proffer of the depositions of Calderon, Zambrano, and Ponce, P|aintift‘s medical
records, and the Department of Justice Report. ln supportl Plaintiff incorporates
herein the medical records of Pascua| Diaz Plascenoia, attached hereto as Exhibit
“E” and the Department of Justice Reportl attached to the Proposed Second
Amended Comp|aint as Exhibit "B."

5. Defendants will not be unfairly prejudiced if this lVlotion is granted and F|orida Rule
of Civil Procedure 1.190 states that leave of court "shall be given freely when
justice so requires." See also Foius v. Margules, 98 So. 2d 394 (Fla. 3d DCA 1957);
and Penn Cork and Closures, lnc. v. Piggyback Shippers Assoc. of Florida, lnc.,
281 So. 2d 46, 46 (Fla. 3d DCA 1973) ("[i]t is unnecessary to recite the numerous
decisions of the courts of this state regarding the liberality in the granting of

ll amendments to pleadings.”)

6. This is the second time Plaintiff has sought to amend the Comp|aint in this case
and P|aintiff has not abused that privilege.

l . 7. A copy of the proposed Second Amended Comp|aint is attached as Exhibit “A".

WHEREFORE, P|aintiff respectfully requests that this Honorable Court grant his

Motion for Leave to File Second Amended Comp|aint and requests thel:_Second Amended

Comp|aint be deemed filed at the time the Court enters the Orderigranting leave to

Amend.

 

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CERT|FICAII_E OF SERV|C§

| HEREBY CERT|FY that the foregoing was served via e-service on June _;_,
2016 on: Benjamin D. Simon, Esq., Assistant County Attorney, lVliami-Dade County
Attorneyr Stephen P. Clark Center, Suite 2810l 111 NW First Street, lilliamil FL 33128-
1812; bdsimon@miamidade.qov and mbarber@miamidade.qov. Randal| C. Berq. Jr.4
Dante Trevisanil Esg.1 F|orida Justice lnstitute, lnc.1 3750 lVliami Tower, 100 South East
Second Street, lVliami, F|orida 33131-2309; RBerq@F|oridaJusticelnstitute.orq and
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EXHIBIT A

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IN THE CIRCUIT COURT OF THE 11"‘.
JUDICIAL CIRCUIT IN AND FOR MI-
AMI~DADE COUNTY, FLOR_II)A

CIVIL DIVISION
Case No: 2014-32220 CA 21

PASCUAL DIAZ-- PLASCENCIA,
Plaintii"f,
vs.

PUBLIC HEALTH TRUS'[`, d!b!a JACK-
SON MEMORIAL HGSP`ITAL and MI-
AMl-DADE COUNTY, FLORIDA,
JOSE ENRIQUE PONCE, GABRIEL
ZAMBRANO, AND CALlXTO
CALDERON,

Defend ants_.
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Plaintiff, Pascual Diaz~Plascencia, sues Defendants, Public Hcalth Trust dib/a Jackson

Memorial Hospital, l\/liami-Dade Countyj Jose Enrique Ponce, Gabriel Zambrano,and Calixto
Calderon, and alleges:

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l. This is an action for damages alleging that the Defendants, in violation of the Four-

teentli Amendment to the U.S. Constitution, deliberately deprived Plaintiff Pascual DiaZ-Plascen-

cia of medically necessary medications which resulted in the loss of his transplanted kidney,

thereby causing him considerable pain, the loss of the enjoyment oi` life, and decreased life expec-

tancy. lt is further alleged that Defendants Miami-Dade County (“County") and Public Heaith

'l`rust (“PHT”) have for years been on notice of a well-known and documented “policy, practice

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-Qne'-' Aiscayne Tower, Suite 3100, 2 South Biscayne {z'r;iul'cn<'ar‘éi t'\l?r'énir`r§. fil_ 33131, Phone: 305.371'.3666, Fax.‘ 305.371'.6725

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and custom” of not providing inmates in Miami-Dadc County Jails with constitutionally adequate
medical care. As a result, the U.S. Department of Justice (“DOJ”) began a comprehensive investi-
gation of Defendants" failure to provide medical care in 2008. After a 3’/2 year investigation, DOJ
issued to the Defendants a “findings letter” on August 24, 2011, detailing its areas of concern,
including the failure to timely administer medications to its patients and the failure to properly
monitor and care for inmates with chrome illnesses. Despite these and other findings by the DOJ
in 2011, Defendants persisted in not providing timely administration of essential medications to
Mr. Diaz-Plascencia, which ultimately resulted in severe injuries to the Plaintiff, numerous hospi-
talizations, and the loss of his kidney. Defendants County and PHT are also sued for the common-
law negligence of its employees
Jurisdictinn and Venue_r

2. Jun`sd.iction is proper in this Court pursuant to Fla. Sitat. §§ 26.012 and 34,01 as
this is an action for damages in excess of $1 5,000.00.

3. Venue is proper in that all the actions relevant to these claims took place in this
Circuit

4. All conditions precedent to bringing this action have occurred or have been pet-
i`orrned, including the provisions of all notices required by Florida Statutes, including I"la. Stat. §§
766 and 768.23.

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5. Piaintiff, Pascuai Diaz-Plascericia (hereinafter referred to as “l`vlr. Diaz-Plasencia”),
is and was at all times material a resident of Miarni-Dade County, Florida.

6. Defendant, Public Health Trust, d/'b/a Jackson Memorial Hospital (liereinafter
referred to as "PHT"), was established by the Board of County Commissioners of Miami-Dade
County, Florida, by Ordinance No. 73-69, codified in Chapter ZSA of the Code of Miami-Dade

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County, and under the authority of Fla. Stat. §§ 154.07 through 154.12, is and was at all times
materially operating and doing business as a hospital, located in lvi`iarni-Dade County, Florida,
and held itself out to the public as being a facility duly licensed under the laws of the State ofFlorida
to provide medical health care, nursing care, surgical care, and other medically-related services, and
employing duly licensed and properly skilled healthcare providers Defendant Pl-IT operated at all
times material a division entitled Correeticnal Health Services (hereinafter referred to as “CHS”)
and employed physicians, residents, interns, physician assistants, nurses, aides, technicians and
other healthcare providers to provide medical and mental health care services to the inmates in all
jails operated by the Defendant County’s Corrections and Rehabilitation Department Defendant
PHT is a governmental entity and operates under color of state law.

7. Defendant, Miami-Dade County, Florida (hereinafter referred to as the "County")
is and was at all times material a political subdivision of the State of Florida. De-
fendant C cunty is and was responsible for the health and safety of inmates under responsibility of De-
fendant County’s Corrections and Rehabilitation Department (hereinader referred to as “MDCRD” or
“CRD”). Defendant County designated the Defendant Pl-H` to provide health care to inmates in the MDCRD.
Defendant County has a non-delegable duty to provide constitutionally adequate medical care for inmates
confined in the Defendant County’s CRD. Defendant County operates under color of state law.

8. Defendant Cali)cto Calderon is a medical doctor who served as CHS’s Medieal Directcr from
August 2008 until July 2013. As such, Defendant Calderon was responsible for the medical care of all inmates
in the Defendant County’s Corrections and Rehabilitation Department Defendants County and PHT dele-
gated the responsibility of providing medical care to l\/H)CRD inmates to Defendant €alderon such that his
actions and omissions constituted actions and omissions by Defendants County and PHf. At all times material,
Defendant Calderon was acting within the course and scope of his employment by Defendant PHT. Accord-

ingly, Defendants PHT and the County are legally and vicariously liable for the acts of Defendant Calderon

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for all violations of state law. Defendant Calderon is also sued in his individual capacity for violations of the
llfl"1 Amendment to die U.S. Constitution. At all relevant times, he acted under color of state law.

9. Defendant Gabriel Zambrano is the current Assoeiate Medical Director of CHS. He
has been employed by CHS since 2009, and became the Associate Medical Director in 2012 just
prior to the events in this lawsuit As such, Defendant Zambrano was responsible for the medical
care of inmates in the Defendant County’s Corrections and Rehabilitation Department Defendants
County and PHT delegated the responsibility of providing medical care to MDCRD inmates to
Defendant Zambrano such that his actions and omissions constituted actions and omissions by De-
fendants County and Pl-lT. At all times material, Defendant Zambrano was acting within the course
and scope of his employment by Defendant PHT. Aecordingly, Defendants PH`T and the County
are legally and vicariously liable for the acts of Defendant Calderon for all violations of state law.
Defendant Calderon is also sued in his individual capacity for violations of the 14“h Amendment to
the U.S. Constitution. At all relevant times, he acted under color of state law.

10. Defendant Jose Enrique Ponce is an Advanced Registered Nurse Practitioner
(ARNP) employed Defendant PHT to work at the CHS since July 1989. As such, Defendant Ponce
is responsible for the medical care of inmates in the Defendant County’s Ccrreetions and Rehabil-
itation Department At all times material, Defendant Ponce was acting within the course and scope
of his employment by Defendant PHT. Aecordingly, Defendant PHT is legally and vicariously
liable for the acts of Defendant Ponce for all violations cf state law. Defendant Ponce is also sued
in his individual capacity for violations of the 14th Amendment to the U.S. Constitution. At all
relevant times, he acted under color of state law.

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ll. On June 29, 2012, Plaintiff Diaz-Plascencia Was detained and brought to one of
Defendant Miami-Dade County’s Corrections and Rehabilitation facilities, tingerprinted, and
booked, Defendants County and PHT assumed responsibility for the healthcare of l\/Ir. Diaz-
Plascencia who was known to have a transplanted kidney requiring certain antirejection medica-
tions twice daily to preserve his heath and maintain his kidney. He was also on medications for
hypertension, Nexium, Bactrim, and aspirin. lt was noted on his intake form on June 29, 2012 by
Defendant PHT’ s nurse that Mr. Diaz-Plascencia had last taken his medications on June 27, 2012.l
Yet, the Defendant PHT’s nurse made no effort whatsoever to have a health care provider order

any of these medications on Friday, June 29, 2012.

l2. Plaintiff was next seen by Defendant PHT’ s health care provider,2 Defendant Ponce,
on Saturday, J unc 30, 2012. Defendant Ponce knew that the antirejection medication was non-
formulary, had to be specially ordered by the PHT’s pharmacy, and would have to be approved in

writing in advance by the CHS Medical Director, Defendant Calderon. Defendant Ponce also knew

that was not likely to happen until Monday, J`uly l, 2012, and Mr. Diaz-Plascencia was not likely

to receive the antirejection medication until Tuesday, July 2, 2012 at the earliest Defendant Ponce
could have expedited the approval of the non-formuiary medications by simply calling Defendant

Calderon, but he elected not to do so.

 

13. lnstead, Defendant Ponce ordered the antirejection and other medications which Mr.
Diaz-Plascencia so desperately need ed by taking the slowest route possible: faxing the order to the

CHS pharmacy without getting in advance the required permission of Defendant Calderon for the

 

1 During the relevant time period, Plaintift’ s medications-which were all known by the Defend-
ants_were Pro graf and Myfortic (i`or organ anti-rejection), nifedipine (t"or hypertension), aspirin
(for blood clots), Baetrim (antibiotic), and Nexium (for acidity).

1 The term “health care provider" as used by the Defendants pertains to all physicians physicians’
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non-formulary antirejection medication Thus, Defendant Ponce knew that Mr. Diaz-Plascencia
would be without his essential antirej ection medication_whieh he knew were supposed to be given
without fail twice daily_for-at least 6 to 7 days. Defendant Ponce also knew that this delay would
likely result in serious harm to the Plaintil"f, including but not limited to pain, suffering, loss of his
kidney, and decreased life expectancy Yet Defendant Ponce failed to dc anything that would pre-
vent these negative outcomes.

14. Further, as a result of poor record-keeping procedures at the Jail, the initial assess-
ment form completed by Defendant Ponce on June 30, 2012, was misplacedl Accordingly, the
form had to be completed again on luly l, 2012. At that point, Defendant Ponce knew that the
Plaintiff had gone without his medication for at least 24-hours.

15. Not only did Mr. Diaz-Plascencia never get on Tuesday, July 2, 2012, the antirejec-
tion medications which Defendant l°once had ordered using the slowest method possible, he also
did not receive the hypertension medication, Nexiuni, Bactrim, and aspirin. l-le was now 6 days
without any medications

16. Defendant Ponce’s failure to do anything more than merely order the antirejection
medications proved devastating for Mr. Diaz-Plascencia.

l?. ln addition, Defendant Ponce knew at the time that Defendant Calderon had de-
creased the number of formulary medications kept on hand at the CHS Pharrnacy in an effort to
save money, and for cost containment purposes As a result, all non-formulary medications would
have to be specially ordered, thereby further delaying the receipt of the antirejection medication
lt was also well known by Defendant Ponce that prior to Mr. Diaz-Plascenciais incarceration, De-
fendant Calderon instituted a policy of having to personally approve any order of a non-formulary
medication Defendant Calderon instituted these new policies in an effort to save money no matter

how essential the non- -formulary drug. lt was widely known that this policy which required prior

 

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approval by Defendant Calderon for all non-formulary drugs_whethcr he was in the County or
away on vacation»-would result in a delay of the inmate’s receipt of the drug with the hope he or
she would be released, and thereby save the Defendant PHT the expense of having to provide many
of the non-formulary medications

18. Defendants Pl-lT’s and Calderon’s policy requiring the Medical Director personal
approval before ordering all non-formulary medications proved disastrous for Mr. DiaZ-Plascencia.
Not only did Defendants Ponce and l2',a1nbrano do nothing to ensure that his patient got the medi-
cations he so desperately needed approved on an expedited basis, Defendant Calderon never saw
either order, and as a result, never approved the ordering of the non-formulary antirejection medi~
cation. Even more inexplicably, Mr. Diaz-Plascencia never even received the common formulary
medications such as Nexium and aspirin.

19, On the seventh day without receiving any medications, Mr. Diaz-Plascencia was
examined on July 3, 2012 by Dr. Zambrano, the Assistant l\/ledical Director, as a result of seeing
him in the hypertension clinic. As a result of knowing the Plaintiff had not received any medica-
tions for seven days at that point, Dr. Z,ambrano rewrote the same prescription for antirej ection
medications along with the other medications, Despite Dr. Zarnbrano’s knowledge that Mr. Diaz-
Plascencia needed to take the antirejection medications twice per day, every day without fail, and
that no medications had been given for 7 days, Dr. Zambrano did absolutely nothing to ensure Mr.
Diaz-Plascencia was given his antirejection medicationl ln fact, the only action Dr. Za.mbrano took
was to simply rewrite the same prescriptions and fast same to the Pharmacy, just had Defendant
Ponce had previously done. llr. Zambrano did not call the pharmacy to inquire as to the wherea-
bouts of the prior order for the medications, he did not call the pharmacy to ensure that the medi-
cations were delivered “stat” (i.e., expedited), and he did not call Defendant Calderon to ensurehe
expedited approval of the non-formulary medications, Instead, Dr. Z.ambrano also chose instead

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to do as little as humanly possible and elected to just reorder the medications by failing the order .

over just prior to a national holiday; The medications fortunately were delivered later that day, on

luly 3, 2012. But, as it would later turn out, the medications arrived too late to save the transplanted
kidney.

20. As a result of Defendants Ponce and Zambrano not ensuring the ordered, non-for-
mulary ami-rejection medication prescription was filled, administered appropriately, and available
at all times from June 29“h until late July 3rd, l\/Ir. Diaz~Plascencia had to be admitted to lackson
Memorial Hospital on an emergency basis from the Jail on July 7, 2012. He remained at the hos-
pital until July 20, 2012.

21. When l\/Ir, Diaz-Plascencia returned to the Jail from Jackson Memorial l-lospital on
July 20, 2012, he was not immediately seen by a health care provider. ln fact,- he had to wait three
days before seeing a health care provider on July 23, 2012, notwithstanding his chronic condition
and extended hospital stay.

22. Further, to ensure that what happened to him in late lune would not happen again,
JMH staff gave his correctional-officer escorts a bag with all of his medications l-lowever, despite
the fact that the Jail now had all of his medications from the Hospital, Defendants County and PHT
again failed to administer Mr. Diaz~Plascencia’s medicationsl Predictably, because of Defendants
failure to properly care for him, in a relatively short period of time, Mr. Diaz-Plascencia’s health
had worsened, he became gravely ill, and had to immediately be readmitted to the renal transplant
unit at JMl-l on Juiy 23, 2012.

23. Mr. DiaZ-Plascencia again returned to the lail on lilly 26, 20`1"`2 from JMH. As a
result of Mr, Diaz-Piascencia not receiving the timely administration of his medication on several
other occasions during the latter part of July, he had to again be readmitted on an emergency basis
to lelI-l on August l, 2012, August 12, 2012, and August 25, 2012.

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24, Mr. Diaz-Plascencia’s repeated readmissions to JMH from the MDCRD were di-
rectly attributable to Defendant Zambrano’s abandonment of his patient, Mr. Diaz-Plasceneia, and
`Ji failure to monitor him when returned to the Jail. In fact, Defendant Zambrano failed to monitor
Mr. DiaZ-Plascencia for over a month after first seeing him in the hypertension clinic on July B’d.

25. Throughout this entire time, Mr. Diaz-Plascencia repeatedly complained to Jail
guards and staff that he was not receiving his medications and that his condition was worsening.
His calls for help went unanswered despite the visible signs of deterioration, such as prominent
bruising and swelling all over his body.

26. Further, at one point, Mr. Diaz-Plascencia’s family notified jail oflicials that he was
not receiving his medication, and provided his medication to jail officials Despite the Jail’s ability
" to verify the identity of the medications, jail officials would not accept the medications Mr. Diaz-
Plascencia so desperately needed.

27. ln summary, the ordered medications were not administered appropriately and Were
repeatedly not available to l\/lr. Diaz-Plascencia leading to emergency admissions to Jacl<son lvle-
morial Hospital on Jul.y 7, 2012, July 23, 2012, August 1, 2012, August 12, 2012, and August 25,

2012. During these times and others, Defendants County and PHT assumed responsibility for the

 

healthcare of Mr. Diaz-Plascencia.
28. The lack of appropriate medication administration and availability, as well as the

failure by all the Defendants to have adequate policies and procedures in place, led to Mr. Diaz-

 

Plascencia’s pain and suffering, as well as his kidney transplant rejection and failure, thereby re-
quiring another kidney transplant and resulting in a decreased life expectancyl"

The Miami-Dade County Jai]_’s “Policy_,_ _Practice, and Custom” of
V;Qeliii errata flni`li_f`fer_en`ee-'to'ri§n;nates* §Seri`o as ‘Medieal_ Needs

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29. Prior to the incidents that give rise to Mr. Diaz-Plascencia’s constitutional viola-
tions and injuries, Defendants had for years been on notice of the widespread and longstanding
pattern of not providing proper medical care to inmates in the Defendant County’s jails.

30. The history of the Defendants County’s and PI-IT’s deliberate indifference to in~
mates’ serious medical needs inn its jails had been ongoing for over a decade prior to the events
which resulted in Mr. Diaz-Plascencia losing his kidney and are well documented3

31, Between 2000 and 2007, the Defendant County’s CRD had approximately 117
inmate deaths, many of which were attributed to the Defendant PHT’s failure to provide proper
medical treatment Since 2007, several unjustifiable inmate deaths have occurred

32. Defendants County and PHT, and many of their public ofiicials, have long been
aware of their correctional facilities’ failure to provide proper medical treatment For example:

a. Inrnate Miguel Gonzalez communicated through his mother to Miami-Dade
County Commissioner Jimrny Morales, requesting assistance in getting the
medical treatment for his facial and orbital fractures that had been denied;

b. Inmate Cristobal limenea submitted complaints to Former County Manager
George Burgess and Former Assistant County l\/lanager Susanne Torriente, as
well as the Former Mayor's Chief of Staff Dennis Morales, regarding his dia-
betes, need for insulin medication, and the Department of Corrections' failure
to administer his necessary medication from beginning of 2005 through Febru-
ary 2006; and

c. Earl Moffett complained, through his mother, to Former Ma'yor Carlos Alvarez

 

3 See Exhibit A: List of Miami-Dade inmates who did not receive proper medical care for their
serious med.ical-'col_id`t'.on while incarcerated . t .,
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regarding the MDCR’s failure to provide medical treatment for a severe infec-

tion and renal dysfunctionl

33. Defendant County has been notified, mandated, and repeatedly ordered by judicial

officers to provide proper medical treatment to its inmates For examples

&.

Former l\/Iiami-Dade County Judge David Young repeatedly ordered the Mi-
ami-Dade Department of Corrections and Rehabilitation to provide medical
testing and care, but stated that his instructions were often ignored

The Honorable Bertila Soto ordered that Miami~Dade County Department of
Corrections and Rehabilitation provide inmate Miguel Gonzalez with all med-
ical treatment5 including surgery that he required

Circuit Court Judge Victoria Sigler modified inmate Max Nuevas’ sentence by
releasing him in order for him to receive proper medical care.

Judge Mark Leban entered an order recommending that the Miami~Dade De-
partment ofCorrections and Rehabilitati on provide inmate Earl Moffet the nec-
essary medical treatment; however, the order was ignored.

Former ludge Lawrence Schwartz entered an Order mandating that Timothy P.
Ryan, former director of Miami-Dade County Department of Corrections and

Rehabilitation, provide necessary medical treatment to inmate Eliseo La Bruno.

34. Additionally, Defendant County has been repeatedly sued on the basis of the

MDCRD’s and PHT’s failure to provide proper medical care to its inmates See, e.g., La Bruno v.

Miamf»Dade Cm‘y., Case No. 10-22554-C1V, 2011 WL1103783 (S.D. Fla. Mar. 23, 2011);Ramos

v. Miami-Dade County Board ofCounty Commz`ssioners et al, Case No. 08-20065-C1V, (S.D. Fla.

lanuary 9, 2008); Fisher v. Mfami-Dade County, 114 F.Supp.Sd 1247 (S.D. Fla. 2015), In La

Brnno, the plaintiff, an HIV-positive inmate who recently suffered from a gunshot wound, alleged

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that Defendant County and PHT failed to provide him with his prescription medication for the
HIV virus or his gunshot wound

35. Defendants County and PHT were also aware of the poor record~keeping proce-
dures that contributed to the inadequate medical care for inmates lt was not uncommon for med-
ical records to get lost. This precluded orders from being filled, health care professionals from
being aware of patients’ medical “plans” going forward, and health care professionals from being
advised of the patients’ medical histories

36. Finally, Minmi Herald, Miamz` New Tfmes, and several local news stations have
reported on the MDCR’s failure to provide inmates with proper medical care, and widely reported
on the U.S. Department of Justice’s investigation on Defendants failure to provide medical care
to its inmates

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37, On April 5, 2008, the U,S. Department ofJustice initiated a tln‘ee-and-a-half-year
investigation regarding civil rights violations in the Miarni-Dade County Department of Correc-
tions and Rehabilitation. According to Grace Chung Becl<er, former Assistant U.S. Attorney Gen~
eral: “Federal authorities are investigating to determine whether there are systemic violations of
the Constitution of the United States in the conditions at the Miarni-Dade County Jail” and “will
focus on protection of inmates from harm, including providing adequate suicide prevention
measures medical care, mental healthcare, protection from inmate violence and sanitation condi-
tions, as well as the use of excessive force against inmates.”

38. Former Mayor Carlos Alvarez responded ton the U.S. Department of Justice with a
two-page memorandum outlining a plan to correct problems at Defendant l\/liami-Dade County’s
six main jail facilities Though Mayor Alvarez acknowledged the problems and promised to cor~

rect the problems at the jail facilities no action was taken by the County to remedy said problems

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Specifically, no action was taken by the lDefendants County and PHT to remedy its repeated failure
to provide proper medical treatment to inmates and no improvements were made to assist inmates
to receive proper medical care while incarcerated in its six facilities

39. During the three and half year investigation, Defendant County provided the DOJ
all ofthe necessary information it needed to make its conclusions concerning the failure to provide
proper medical care to its inmates DOJ also informed the Defendants County and PHT With the
deficiencies it was finding during the course of its 3‘/1 year investigation so things might get im-
mediately corrected Despite having knowledge of specific deficiencies and their failure to pro-
vide adequate medical care to inmates, Defendants failed to do anything to remedy the deficient
functions in its medical care, including but not limited to providing adequate intake screening
measures, record-keeping practices management of chronic health issues, timely providing pre-
Scribed medications, and establishing an effective sick call process

40. As a result of the Defendants’ failure to remedy ongoing problems, on August 24,
201 l, the Department of Justice issued its “findings letter” which concluded among other things
that Defendants County and PHT violated the constitutional rights of prisoners because, among
other things its correctional facilities are deliberately indifferent to the serious medical needs of
prisoners4

41. The DOJ’s “findings letter” highlighted five major areas of deficiencies by MDCR
which included: correctional medical care intake screening and initial health assessments; access
to care for acute medical needs; management of chronic health problems; proper medication ad-

ministration; record keeping; and quality assurancel _

 

il-E)'chibit B, U.S. Department of Justice “tindings letter” to the Honorable Carlos Alvarez, lvlayor

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42. The D(_).l concluded that Defendants County and PHT consistently failed to iden~
tify and document acute and chronic care needs of prisoners entering the jail. As a result, prisoners
endure severe and unnecessary pain, and even death, for injuries that could easily be prevented
Defendant County and PHT’s screenings and health assessments were untimely, cursory, and at
times performed by ill-trained professionals that failed to identify obvious signs of medical risk
to prisoner’s health

43. The DOJ concluded that Defendants County’s and PHT’s sick call process is inef-
fective and toothless. When inmates request medical assistance, Defendants County and PHT rou-
tinely failed to act on the request or were delayed in reacting to inmates’ medical complaintl Those
inmates who actually receive a response are otten seen for only a brief period of time, which does
not allow for a competent medical evaluation or medication administration Defendants County’s
and PH”l"s nurses do not employ standard protocols in seeing inmates (e.g., taking and recording
an inmate’s vital signs).

44. The DOJ concluded that Defendants County and PHT’s medication administration
is chaotic, inefficient, and fraught with risk of errors that can cause serious harm to prisoners The
investigation revealed that six prisoners housed in one of the “psychiatric wings” received no
medications, even though the prisoners required an intensive level of mental health services

45. The DOJ concluded that Defendants County and PHT failed to provide adequate
medical care to inmates with chronic illnesses The investigation noted that Defendants County
and PHT do not have a fully functional chronic care program, which would allow the County and
PHT to track, monitor, and refer patients that have chronic illnesses to specialist

46. Finally, the County and PHT failed to keep complete, accurate, readily accessible,
and systematically organized medical records The DOJ’s investigation concluded: “Medical
charts are often incom.plete, fail to document specialist appointments do not include the medical

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staff member’s name and title attached to notes7 and illegible.” Additionally, many of the inrnates’
charts do not contain nursing intake screening or booking officer screening If medical profes-
sionals do not have access to the complete and accurate medical history of prisoners they cannot
provide proper care to their inmates and exposes these inmates to risk to serious harms

47. On or about Apri] 16, 2013, the County entered a consent agreement with the
` United States to remedy the constitutional violations alleged in the August 24, 2011 “tindings
letter.”

48. On May 1, 2013, the DOJ, on behalf of inmates from the Miami-Dade County
Corrections and Rehabilitation Department filed suit5 in the Southern District of Florida against
Miami-Dade County for violations of the inmates’ constitutional rights, including but not limited
to its failure to provide proper medical care to inmates

49. On l\/iay 22, 2013, U.S. District Court lodge Williarn l. Zloch entered a Consent
Decree, which was supposed to revise the standard of medical care to be provided by the MDCRD
facilities

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50. Undeterred by the DOJ’s 2011 “findings letter” and later the Consent Decree, the
County and PHT’s systemic failure in providing medical care continued unabated 1n the years
of 2012 and 2013, inmate deaths were in the double digits A majority of these inmates died from
the County’s and PHT’s failure to provide proper medical care. For instance, inmate Carl Dixon
died from a seizure from delayed medical assistance Inrnate loaquin Cairo broke his pelvis and
suffered internal bleeding and died shortly thereafter. luan Matos~Flores died after jailers found

he had collapsed Six others _ Jose Leon, Joseph Wilner, Gerard Thomas Kenny, Ricardo

 

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Monzon, Carl Dixon, and Albert Hightower W died from different medical ailments resulting
from Defendants1 continued failure to provide adequate medical care.

5 1 . Defendant Calderon assumed the position of l\/ledical Director for the CHS division
of the Defendant PHT in August 2008, just after the DOJ announced it was investigating the de-
livery of medical services in the 1\/.[DCRD. He had no idea what his duties and responsibilities
were as the l\/ledical Director, and to this day cannot state what his duties were.

52. During the course of its 31/1 year investigation, members of the DOJ medical in-
spection team would periodically meet with and inform Defendant Calderon of its interim lind-
ings But Defendant Calderon did nothing to correct the noted deficiencies lie preferred to “stick
his head in the sand” and ignore the DO.T’s findings while his patients suffered

53. During the course of his tenure as the Medical Director, Defendant Calderon de-
creased the size of the pharmacy’s formulary drug supply. l-lis decision to decrease the formulary
was done intentionally with the expectation that some inmates would be released and as a result
never need the non-formulary, more expensive drugs Decreasing the size of the formulary drugs
invariably delayed an inmate’s receipt of any non-formulary drug because they had to be specially
ordered Defendant Calderon was well aware of the problem and elected to ignore it. Defendant
Calderon also continued a policy of having to personally approve the ordering of any non-formu-
lary drug even if he was on vacation or out of the office. All of these actions by Defendant Cal-
deron contributed to delays in inmates receiving prescribed medications

54. Defendant Calderon had so little concern about the DOl’s investigation of the CHS
where he was the Medical Director that he intentionally never bothered to do"i'anything to correct
the areas of concern identified in the DOl’s August 24, 2011 “findings letter.” The DOl’s “tind-
ings letter” stated that “MDCR inappropriately relies on medication management that fails to con-
sistently incorporate diagnoses or treatment plan.” As to that portion of the “tindings letter” which

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pertained to Mr. Diaz-Plascencia, the DOJ “concluded that the Jail's medication administration is
chaotic, inefficient, and fraught with risk of errors that can cause serious harm to prisoners.” As
a direct and proximate result ofDefendant Calderon’s intentional refusal to take aggressive action
to correct this area of concern identified in the DOJ’s “fin-dings letter” pertaining to medication
management, Mr. Diaz-Plascencia lost his transplanted kidney.

55. After thirteen years of Defendants County and PHT failing to provide adequate
medical care to its inmates Commissioncr Sally Heyman wrote a memo to Mayor Carlos Girninez.“,
telling him to place the Department of Corrections on a management watch and that the Mayor
and his office needed to take a stronger role in running corrections Commissioner Heyman stated:
“We have multiple issues Significant problems that are systematic of a system, a department that
is extremely broken to the detriment and the death of several people.”

56. ln August 2013, Former Corrections Department Director Tim Ryan was ques-
tioned by l\/iiami-Dade County Commission members of the Public Safety and Animal Services
Committee regarding the eight inmate deaths from various medical ailments At said meeting, a
County Attorney cautioned the County Commission members to proceed with caution given that
what they said could be utilized in a lawsuit against the County. Despite this warning, Commis-
sioner Esteban “Steve” Bovo stated that: “A lot of the things we are seeing in the news have to be
disturbingl .. When somebody goes into our jail and dies in ourjail, that’s a great concern.” Un-
fortunately, these concerns developed too late for Mr. Diaz-Plascencia.

57. The medical care became so inadequate that former Director Patrick Morse re-
signed and 1ill/ledical Director Defendant Calderon was fired in July 2013, following the surge of
inmate deaths and complaints about shoddy medical service And of course, this was nearly two
years after the DOJ’s “tindings letter” and almost a year after l\/lr. Diaz~Plascencia lost his transF
planted kidney.

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58. Throughout the years, various organizations have publically decried the deplorable
conditions at the MDCRD’s jails. Walter Clark, a former corrections ofticer, who runs an advo-
cacy group for black corrections employees, states that nothing has changed in regards to provid-
ing proper medical care to inmates. John Rivera, chief of Miarni-Dade’s police union that repre-
sents corrections employees, says: “Thc list of problems in, .. Department of Corrections is long
and disturbing...lhat department is completely turned upside down...lt's modern~day dungeon
conditions in these jails and [Tim]Ryan is not doing anything to make matters better.”

59. Defendants County’s and PHT’s long history of failing to provide adequate medi-
cal care to inmates has been uninterrupted despite having a federal investigation, entering a Con-
sent Decree, having numerous lawsuits, and public outcries from various community leaders and
Miami-Dade Commissioners.

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NEGLIGENCE CLAIM As_ _'_ro PUBLIC HEALTH rRUsr
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60. Plaintit`f realleges and incorporates the allegations contained in paragraphs 1
through 59 above as if fully set forth herein.

61. Defendant, Public Health Trust d/bfaJac-kson Memorial Hospital, by and through
its actual, apparent andfor implied agents, servants and/or employees, including, but not limited
to its physicians, residents, interns, nurses, aides, technicians and other ofDefendant PHT’s
healthcare providers including but not limited to Jose Enrique Ponce, Gabr;i:el Zambrano, and
Calixto Calderon, undertook the non~delegable duty to render to Plaintiff Diaz-Plascencia a
level of care, skill and treatment which, in light of all relevant surrounding circumstances, is
recognized as acceptable and appropriate by reasonably prudent similar health care providers

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(also referred to as the prevailing professional standard of care).

62. Defendant, Public Hcalth Trust dfb/a Jackson Memorial Hospital, by and through
its actual, apparent and/or implied agents, including but not limited to Jose Enrique Ponce, Gabriel
Zambrano, and Calixto Calderon, servants and/or employees, including, but notlimitedto its doc-
tors and nurses, breached the prevailing professional standard of care to Plaintiff Diaz-Plas cencia by
failing to do one or more of the following:

a. Failing to resolve the repeated unavailability of the ordered medication;
b. Failing to administer prescribed medication pursuant to Doctor‘s Orders;

c. Failing to order essential non-formulary and formulary medication on an emer-
gency/stat basis;

d. F ailing to follow Miami-Dade County Corrections and Rehabilitation Policy &
Procedures and standard of care regarding medication administration;

e. Failing to report the lack of available prescribed medication to the ordering phy-
sician;
f. Failure to report to the ordering physician and,"or operational manager the lack

of available prescribed medication; or

g. Failt\_re~to have adequate poliei'e'sh_'a`nd'ptoeedut ` in place regarding';.tlre admin~'
istrai;ien of medicationte;§,innn;taf_t;es";irrj,.,_and'; to._j§)r__o'pei;ly monitor chronic medical
conditions such as hypertensionl `

   

63. Defendant, Public l-lealth Trust d./b/a Jackson Memoriai Hospital, owed a non-
delegable duty to Pascual Diaz-Plascencia to provide: a) non-negligent medical services; b) the
non-negligent services of J ose Enrique Ponce, Gabriel Zarnbrano, and Calixto Calderon; and c) non-
negligent nursing services;

64. As set forth in Paragraphs 62(a) through 62(g), Defendant, liublic Health Trust
d/b/a Jackson Memorial Hospital, breached that non-delegable duty. l

65 . As a result of the negligence of Defendant, Public Health Trust d/b/a Jackson Me-

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employees, including but not limited to physicians, residents, interns, nurses, aides, technicians
i and other healthcare providers including, Jose Enrique Ponce, Gabriel Zambrano, and Calixto
l Calderon, Plaintiff Diaz-Plascencia, suffered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability
to earn money, and aggravation of a previously existing condition The losses are either
permanent or continuing and plaintiff will suffer the losses in the future.

66. Plaintiff has complied with all conditions precedent to the initiation of this
action, including providing timely formal notice of this claim to all necessary parties, entities and
agenciesl The undersigned counsel hereby certifies that a reasonable investigation has been
made to the extent permitted by the circumstances and the investigation supports the belief that
grounds exist for the subject action initiated against the Defendants

WHEREFORE, Plaintiff demands judgment for damages and costs against the Defendant,

 

Public l-lealth Trust d/b/a Jackson Mcmorial Hospital. Plaintiff further demands trial by jury of

all issues triable as of right by jury.

Count II

 

NEGLIGENCE CLAIM AS TO MlAMI-DADE COUNTY

67. Plaintiff realleges and incorporates the allegations contained in paragraphs 1
through 59 above as if fully set forth herein.

68. Defendant, Miami-Dade County, by and tlu‘ough its actual, apparent and/or implied l
agents, scrvants, contractors, andjor employees, including, but not limited to its Pl`-I'l` contractors’
physicians,residents, interns, nurses; aides, technicians and other healthcare providers also in-
cluding, lose Enrique Ponce, Gabliel Zambiano, and Calixto Calderon, undertook the non-delegable duty

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to render to PlaintiifDiaz-Plascencia a level of care, skill and treatment Which, in light ofall

relevant surrounding circumstances, is recognized as acceptable and appropriate by reasonably

prudent similar health care providers (also referred to as the prevailing professional standard

of care).

69.

Defendant, Mi am i -D ade C o unty, by and through its actual, apparent and/or im-

\ plied agents, servants, contractors, and/or employees including, Jose Ennique Ponce, Gabriel Zam-

brano, and Cali)rto Calderon, servants and/or employees, including, but not limited to its PHT con-

tractors’ doctors and nursesJ breached the prevailing professional standard of care to Plaintiff Diaz-

Plascencia by failing to do one or more of the following'.

3.

b.

70.

Failing to resolve the repeated unavailability of the ordered medi.cation;
Fail ing to administer prescribed medication pursuant to Doctor's Orders;

Failing to order essential non-forrnulary and formulary medication on an emer-
gency/stat basis;

Failing to follow Miarni-Dade County Corrections and Rehabilitation Policy &:Pro-
cedures and standard of care regarding medication administration;

Failing to report the lack of availability of prescribed medication to the ordering
physician;

Failure to report to the ordering physician and/or operational manager the lack of
availability of the prescribed medication; and

Failure to have adequate policies and procedures in place regarding the administra-
tion of medication to inmates

Defendant, Miami-Dade County, owed a non-delegable duty to Mr. Diaz-

Plascencia to provide: a) non-negligent medical services; b) the non-negligent services ofDefend-

ants Ponoe, Zamlnano, andCalderon; and c) non-negligent nursing services. -

71.

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As set forth in Paragraphs 69(a) through 69(g), Defendant, Miami-Dade County,

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breached that non-delegable duty.

72. As a result of the negligence of Defendant, Miami-Dade County, by and through
its actual, apparent and/or implied agents, servants and/or employees, including but not limited
to physicians, residents, interns, nurses, aides, technicians and other healthcare providers also in-
cluding, loseEiu'iquePonce, Gahriel Zambiano,arulCalixto Calderon, Plaint;iff Diaz-Plascencia suffered bod-
ily injury and resulting pain and suffering, disability, disfigurement, mental anguish, loss of ca-
pacity for the enjoyment of life, expense of hospitalization medical and nursing care and treatment,
loss of earnings, loss of ability to earn money, and aggravation of a previously existing condition
The losses are either permanent or continuing and Plaintiff will suffer the losses in the future.

73. Plaintiff has complied With all conditions precedent to the initiation of this action
including providing timely formal notice of this claim to all necessary parties, entities and agencies
The undersigned counsel hereby certifies that a reasonable investigation has been made to the extent
permitted by the circumstances and the investigation supports the belief that grounds exist for the sub-
ject action initiated against the Defendants

WHEREFORE, Plaintiff demands judgment for damages and costs against the Defendant,
Miami-Dade Count. Plaintiff further demands trial by jury of all issues triable as of right by
jury.

._Count .III\

VICARIOUS LIABILITY OF PUBLIC HEALTH TRUST dfb/a
JACKSON MEMORIAL HOSPITAL

74. Plaintiff realleges and incorporates the allegations contained in paragraphs 1
through 59 above as if fully set forth herein.

75. Defendant5 Public Health Trust d/b/a lackson Memorial Hospital, by and through

One 'Bi$cay'no Tower, Suite 3 .’Of), 2 South Bi`scay,')e Boulevard ."\'t'r'am:', Ft_3`3 _:‘3 l, P!"Jone: 305_3?1.3666, Fax.‘ 305.3?`1.6725

 

 

 

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its actual, apparent and/'or implied agents, is vicariously liable for the negligence of physi-

cians, residents, interns, nurses, aides, technicians and other healthcare providers including,
lose Enrique Ponce, Gabriel Zambrano, and Calixto Calderon. _

7 76. Defendant, Public Health Trust d!b/a l ackson Mernorial Hospital, by and through
its actual, apparent and/or implied agents, is vicariously liable for the negligence of physi-
cians, residents, interns, nurses, aides, technicians and other healthcare providers including,
lose Enrique Ponce, Gabriel Zarnbrano, and Calixto Calderon, had a duty to provide
medical care and treatment to Plaintiff Diaz-Plascencia that conformed with the prevailing
standard of care. l

77. Defendant PHT employees lose Enrique Ponce, Gabriel Zambrano, and Calixto
Calderon, breached the prevailing professional standard of care to Plaintiff Diaz-Plascencia

by doing one or more of the following:

a. Failing to resolve the repeated unavailability of the ordered medication
b. Failing to administer prescribed medication pursuant to Doctor's Orders;
c. Failing to order essential non-formulary and fonnulary medication on

an emergency/stat basis;

d. F ailing to follow Miami-Dade County Corrections and Rehabilit`ation
Policy & Procedures and standard of care regarding medication admin-
istration;

e. Failing to report the lack of availability of prescribed medication to the

ordering physician;

f._; Failing to report to the ordering physician and/or operational manager the
lack of availability of the prescribed medication; or

g. F-ailing to have adequate policies and procedures in place regarding the
administration of medication to inmates

73.l las a result of lose Enrique Ponce’s, Gabriel Zambrano’s, and Calixto

{07126657,1] §~`l-‘tlil_l)lN BRO`W_[\!_ l’.A.
One 'Br'scayne Tower, Suite 310(1, 2 South Biscayne Boiiinvaret Mi`amt_ fit 33133, Plrone: 3051-37 1.3666, Fax: 305;3?1*6?25

 

 

 

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Calderon‘s negligence, Plaintiff Diaz-Plascencia suffered bodily injury and resulting pain and
l suffering disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

expense of hospitalization medical and nursing care and treatrnent, loss of earnings, loss of

ability to earn money, and aggravation of a previously existing condition The losses are either

permanent or continuing and plaintiff Will suffer the losses in the future.

WHEREFORE, Plaintiff demands judgment for damages and costs against the Defendant,
Public Health Trust d/b/a lackson Memorial Hospital. Plaintiff further demands trial by jury of
all issues triable as of right by jury.
simon
VICARIOUS LIABILITY OF MIAMI-DAI)E COUNTY

__l 79. Plaintiff realleges and incorporates the allegations contained in paragraphs 1

 

through 5 9 above as if fully set forth herein.

80. Defendant, l\/liarni-Dade County, by and through its actual, apparent and/or im-

vi

plied agents or contractor, is vicariously liable for the negligence of its Pl-lT contractors’
physicians, residents, interns, nurses, aides, technicians and other healthcare providers including,

lose Enrique Ponce, Gabriel Zambran_o, and Calixto Calderon.

 

81. ' Defendant, l\/liami-Dade County, by and through its actual, apparent and!or im-
i plied agents or contractors, is vicariously liable for the negligence of physicians, residents,
interns, nurses, aides, technicians and other healthcare providers including, lose Enrique Ponce,
Gabriel Zambrano, and Calixto Calderon, had a duty to provide medical care and treatment
Plaintiff Diaz-Plascencia that conformed With the prevailing standard of care.

82. lose Enrique Ponce, Gabriel Zambrano, and Calixto Calderon,

breached the prevailing professional standard of care to Plaintiff Diaz-Plascencia by doing one or

 

more of the following: 1 ` x ,
{0;,126657;1`}` FRElDll\: hli.O\A'N. P`Pt.

One biscayne Tower Suite- 3 ?‘OU, 2 South B.'§<,cayne Boulevard Mr`amt, Ft 33131, )’-’hone: 305.3?1.3666, Fax: _'-15)5.371,6725

 

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a. Failing to resolve the repeated unavailability of the ordered medication;
b. Failing to administer prescribed medication pursuant to Doctor's Orders;
c',-; Failing to order essential non-formulary and formulary medication on an emer- .
gency/stat basis;
d. Failing to follow Miami-Dade County Corrections and Rehabilitation Policy & Pro-
cedures and standard of care regarding medication administration;
e. F ailing to report the lack of availability of prescribed medication to the ordering

l physician;

‘."1`1

Failure to report to the ordering physician and/or operational manager the lack of
availability of the prescribed medication', or

gt Failure to have adequate policies and procedures in place regarding the administra-
tion of medication to inmates

l 83. As a result of lose Enriqu.e Ponce, Gabriel Zambrano, and Calixto Calderon’s neg-
ligence, Plaintiff Diaz-Plascencia suffered bodily injury and resulting pain and suffering, disa-
bility, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

il money, and aggravation of a previously existing condition The losses are either permanent or

continuing and plaintiff Will suffer the losses in the future.

WHEREFORE, Plaintiff demands judgment for damages and costs against the

Defendant, Miami-Dade County. Plaintiff further demands trial by jury of all issues triable as of

right by jury.

VIOLATION OF THE 14"‘ AMENDMENT VIA 42 U.S.C. § 198§`FOR DELIBER-
ATE INDIFFERENCE TO PLAINTFF’S SERIOUS MEDICAL NEEDS AGAINST DE-
' FENDANTS PONCE, ZAMBRANO AND CALDERON
84. Plaintiff realleges and incorporates the allegations contained in paragraphs l

through 59 above as if fully set forth therein.

 

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85. Plaintift`s claim for relief is predicated upon 42 U.S.C. § 1983 which authorizes
l ' actions to redress the deprivation, under color of state law, of ri ghts, privileges and immunities
§ secured to people by the Constitution and laws of the United States, and upon 42 U.S.C. § 1988
l which authorizes the award of attorney`s fees and costs to prevailing plaintiffs in actions brought
pursuant to 42 U.S.C. § 1983.

86. Defendants Ponce, Zambrano, and Calderon’s deliberate indifference to the Plain-
tiff`s serious medical needs Was in violation of the Fourteenth Amendment to the U.S. Constitu-
tion. Defendants Ponce’s and Zambrano’s knowledge of the Plaintiff’s need for this essential
medication and his intentional refusal to order it on a timely basis was tantamount to not providing
any medical care at all, and constitutes deliberate indifference to the Plaintiff s serious medical
needs. Their refusal to expedite the ordering of this essential medication was medical care so
cursory as to amount to no medical care at all.

l 87. Despite Defendant Zambrano’s knowledge of the Plaintiff not receiving time med-
ications, and becoming so gravely ill that he had to be sent repeatedly to l MI-l, Defendant Zam-
brano intentionally failed to monitor his patient on his return from ll\/IH to ensure he was properly

taken care of and received the proper administration of his medications in the lail. His refusal to

 

monitor his patient on his return from the hospital resulted in his patient relapsing, and having to
be repeatedly returned to JMH, and eventually resulted in the loss of his kidney. Defendant Zam-
brano’s failure to monitor his patient was medical so cursory as to amount to no medical care at
§l all.

l 88. Defendant Calderon intentionally refused to make changes to those areas of con-
y cern identified by the DOl’s investigators during the course of its 3 */2 year investigation constituted
` deliberate indifference to the serious medical needs of the inmates in his care, including Plaintiff.
Defendant Calderon’s obliviousness and lackadaisical attitude after the issuance of the DOl’s

One A.i:';rtayne Tower, Suite 3100, 2 South Br`scayne sioti`ltns_rro", Mr°an.ir'_,"l""t 33 33 I, Phone.' 305.371.3666, Fax.' 305.371\6725

 

 

 

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“fmdings letter” on August 24, 2011 ~ including the proper administration and management of
medications - constituted knowledge of the need for medical care, and the intentional refusal to
provide it.

39. Defendants Ponce’s, Zambrano’s, and Cald eron’s intentional failure to provide
Plaintiff Diaz-Plascencia with necessary antirejection medication and in the meantime remain in
pain and eventually lose his transplanted kidney is tantamount to providing no medical care at all.
Defendants Ponce, Zambrano and Calderon knew Plaintiff had a serious medical need that Would
lead to serious harm to Plaintiff if left untreated. Yet, despite this knowledge, these Defendants
intentionally failed to provide the necessary treatment These Defendants were deliberately indif-
ferent to Plai.ntiffs serious medical needs.

90. Defendants Ponce’s, Zarnbrano’s, and Calderon’s deliberate indifference to Plain-
tiff’s serious medical needs directly and proximately caused harm to Plaintiff, including but not

limited paint suffering, loss of his transplanted kidney and decreased life expectancy

Pa.aa.~....___t _.;'#st'ta't R°lisf_.
WHEREPORE, Plaintiff Diaz-Plascencia demands the following relief:
A. Enter judgment declaring that the Defendants Poncc, Zambrano, and Calderon have
violated the Plaintiffs right to constitutional medical care, as secured by the Fourteenth Amend-
ment to the Constitution of the United States of America;

B. Award Piaintiff compensatory and punitive damages against Defendants Ponce,

Zarnbra;no, and Calderon;

C. Award attorneys’ fees, expenses and costs of suit pursuant to 4Z‘U.S.C, § 1988; and
D. Award such other relief as the Court may deem equitable and just under the circum-
stances.
Count Vi`
{07125557§1§} ram olN BROWN, P.A.

One Hrscayno Tower, Suite 3?(20, 2 South discayne Boulevard Miamr', Ft 3313.1, Phone: 305,371..3666, Fax.'305.371.6?25

 

 

 

    

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`V!OLATION UF THE 14th AMENDMENT VIA 42 U.S.C. § 1983 FOR DELIBERATE
INDIFFERENCE TO SERIOUS MEDICAL NEEDS AGAINS'I` DEFENDANTS
COUNTY AND PHT: MONELL CLAIM

91. Plaintiff realleges and incorporates the allegations contained in paragraphs l
through 59 above as if fully set forth therein

- 92. Plai.ntiffs claim for relief is predicated upon 42 U.S.C. § 1983 which authorizes
actions to redress the deprivation, under color of state law, of rights, privileges and immunities
secured to people by the Constitution and laws¢,of the United States, and upon 42 U.S.C. § 1988
which authorizes the award of attorney’s fees and costs to prevailing plaintiffs in actions brought »
pursuant to 42 U.S.C. § 1983.

93. The acts and conduct of the Defendants County and PHT in being deliberately in-
different to the Plaintiff’s serious medical needs was in violation of the Fourteenth Ameudment to
the Constitution of the United States.

94. Defendants County and PH'I` had a policy, practice and custom cf deliberate indif-
ference to the serious medical needs of inmates in its care, Specifically, Defendants County and
PHT failed to remedy a widespread and longstanding practice of providing inadequate medical

treatment to inmates with serious medical needs incarcerated in its MDCRD facilities, and in this

 

instance the proper administration of essential medications The failure to remedy this practice
resulted in the formation of a de facto policy, practice, or custom of deliberate indifference to the
serious medical needs of inmates

95. Defendants County and PHT showed deliberate indifference to§Plaintiff’s serious
medical need. Defendants County and PHT knew of Plaintiff’ s serious need for medication, yet
intentionally failed to provide said medication, in spite of high risk to Plaintiff of rejection and
failure of the transplant organ.

{07125657.1} F RE'| Dli`-l.' ii.l:i U‘NN. lJ.A.
One'Brscayne Tower, Suite 3100, 2 South B."scayne tleaim§nrrj,-Mta.'ni. tit 33731, F'hone: 305.371.3666, Fax: 305.371_6`725

 

 

 

 

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96. Senior officials and employees of Defendants County and PHT, as well as Defend-
ants and their policymakers for inmate medical care, knew of the pattern, practice, policy, and
custom of deliberate indifference to serious medical needs, yet, with deliberate indifference to the
constitutional rights of jail inmates, failed to stop or correct them.

97. Defendants County’s and PHT’s deliberate indifference to Plairrtiffs serious med-
ical need though a pattern, practice and policy of improper administration of medication directly
and proximately caused his injuries. Defendants County’s and PHT’s failure to intervene and
failure to provide the proper administration of his medication directly and proximately caused the
rejection of his kidney, along with the associated health consequences and pain and suffering

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WHEREFORE, Plaintiff DiaZ-Plascencia demands the following relief:

A. Enter judgment declaring that the Defendant County and PHT have violated the
Plaintiffs right to be free from Cruel and Unusual Punishment, as secured by the Fourteenth
Amendment to the Constitution of the United States of America;

B. Award Plaintiff compensatory damages against Defendants County and PHT;

C. Award attorneys’ fees, expenses and costs of suit pursuant to 42 U.S.C. §l988; and

D. Award such other relief as the Court may deem equitable and just under the circum-
Stances. 7

On all counts, Plaintiff requests such other and further relief as may be just and proper.
§DEMAND FORJURY TRIAL

Plaintiff demands trial by jury on all issues so triable.

 

I hereby certify that a reasonable investigation has been conducted which gave rise

[0712655?'1} FRE|DIN BROWN, PiA_
One'£rrrayne Tower, Suite 3100, 2 South Br'scayne Boulevard Miami, .FL 33?311 Phoce: .ji’t?$_fi?r',',_;;g§éf Fax; 305§3 7316725

 

 

 

     

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to the belief that grounds exist for an action against the defendants named herein.

nasd 6 /79/9¢\% __

FREIDIN BROWN, P.A.

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Two South Biscayne Boulevard
Miami, Florida 33131

Tel: 305-371-3666

 

FLORIDA JUSTlCE INSTITUTE, INC.
3750 Miami Tower

100 South East Second Street

Miami, Florida 33 13 l -2309
305-358-2081

305-358-09] 0 fax

 
 

 
    

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By:§

and

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Dante Trevisani, Esq.

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DTrevisani@Florida.iusticelnstitute.org

Attorneys for the Plaintiff

_CERTIFICATE OF SERVICE

l HER_EBY certify that the foregoing was emailed to the following recipients on 3rd day

_[0']12§ 57.1} FR.EID§N BRO\NN, P.}‘\,
L nn 'Bi'.rcayne Tower, Suite 3 TOO, 2 South Hiscayne Boulevard Miami, ft 3313.1, Phorrc: 305.37?.3666, Fa)r: .30.'3.37 l.6725

 

 

 

 

 

 

ofJune 2016.

Benjamin Simon, Esq.

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MIAMI-DADE COUNTY ATTORNEY
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Miami, Florida 33128-1993

T: (305) 375-5961

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Ernai.l:

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Attcmeyfr)r Defendants Public-Hea£th
Servr'ces, iMr'amr`-Dade County
Corrections and Rehabr`lirtation
Department

 

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Pi-`irLrP miami '
Florida Bar No: 118519

 

FRElDlN BR_OWN, P.A.

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ExhibitA
"""`1`_`5 'r Date-(s) oiflnca-r- Serious Mcdi n _ Miami`Dade’S

ceration Cond_ition

   

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jo?izeassr;r}

l\day 22, 2009 ~ :- Broke hrs hand Darly pain and
' May 3, 2010 after fall loss of majority the break or put
(date cf injury to _ ' of movement hand in cast,
last failure of and strength of failed to timely
county) ihis hand after in- _ remedy the darn- f
fection due to ` age caused by _
multiple surger- not putting hand ?°
ies in cast, failed to
promptly get
_i .§ emergency help
.j `§ when he had Se-
\'| __ _ __ ;. _____ - vere infection
l :Gregory Fisher April 4, 2011'~ Residual paraly- Severe pain, * Hefused t`o` grant
- ' April ll, 2011 sis of the bowel ` confinement to a medical treat-
- and bladder wheel chair in § ment, to provide
l" ' excess of 8 catheters and '
j months_. brady- laxatives neces-
_§ cardia, hydro ne- ; sary
phrosis, and kid-
_ ney infection , _
Andrew 'l`aylor n "May 2009 ' ' :Bladder` Storiel Pain and'damage""f"'l?ailed to receive _
Hutchinson Removal to his bodily or- 5 prescription to
(case was dis- gans ` avoid infection,
.-j missed because failure to moni-
_i| j he had not com- __ tor his condition _
_-i 1 pleted in~prison "
' iprocess)_ ; _ _ _ _
_| J ames C'ramer _` 2010-2011 l Known diabetic f Loss `of hearing; "'-"Failure to pro-
-5 (nothing in file _who had suf- z high HBAIC *` vide medication
past response to fered injuries at j levels on a timely basis
summary judg- RMC from im- ' z
_ ment motion) proper treatment `: _
j Giancarlo Lafont O'c"t'ober 4, 2010 Hypothyroidism,' Headaches,` " 'Failure to pro~
j (case summary low testostorone, clouded vision, vide medication -
fl says that the and glaucoma '

 

 

 

44 ._'_._.'_J__;._§.;;F__..‘.A.l..\ . ` ‘ ill ' ' jr j .'.' '

 

 

 

 

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mission records
5 _ show he has

§been receiving
;' adequate treat-

_ low energy, dial '-
* ziness, weak-
. ness, inability to '

stand for long

_ 1 ment and that his periods of time
f' conditions have j or to exercise
j ` not worsene_d)

 

§ Gary Grirnes

5 Aug':"23, 2010
. (date of incident) _

_ Kri`ee harris ' ` "
transport

_ Pai`n

Nurse would not j

let Grimes sec

doctor day after
1 incident, would §?
_. not xvray__knee__ z

 

l Baxter Tisdale

rvray 15, 2009

' §Serious back

` Loss ofmobilit`y;

Delayed exami-

 

 

 

 

 

 

 

 

 

 

' (date of fall) i. §condition due to j chronic back naticn, no treat- ' "
fall pain ment except pain t
* pills when he
_ ;_ Ewasseen __:
` Claudyohel July 20, 2010 j' Fractured right Pain" 7 § No medication " ':
:_Levya_ __ (date of incident) §hand 3 for9 days
_'Perry Keith Mar- November 16, § Acute mandibu-' Pain, lost"weight' lgnored his coal
z tin _ 2010 (date cf in- lar fracture dition and did
' ` cidcnt) ` not grant special
diet/ slow eating
§ pass after his §
_ _ _ ' l surgery,, __
Perrnon Thornas July '10, 2009 n 5 Knee surgery "E'x'trerne knee ‘j _rDenied'knee' l
(date of surgery) _ pain, loss of mo- 5` ' therapy
_ition_§__ ___ _____ §
Joaquin Cairo July 2013 Brokenpelvis, l Death n _Delay for days
internal bleeding f in getting Cairo
_ after attack § -to the emergency _
Juan Matos-Flo- l April 2013 Unresponsive on 5 Death. l Delay because
' res floor ' couldn’t call out
z from 9th floor,
n had to first call

another floor

 

 

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EXHIBIT B

 

 

 

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U.S. Department of Justice

Civil Rights Division

 

O,Fl`c¢; of the A_x,rt`ttc.'rl.h*llfomt!y Gmlemi' ll'hr}n'n_qrpn, il C" 20de
The Honorable Carlos A. Gimenez "S_UG 2 ti gmi

 

Mayor, Miami~Dade County

Stephen P. Clark Ccnter

111 Northw est First Street, 12ch Flool'
M'iarni, i""lJ 331_28

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§e:

 

Dear Mayor Gimenea:

The Department of Justice’s Civil flights Divl.sion has concluded its investigation of
conditions at the corrections facilities operated by the lvl`iarni-Dade County Corrections and
Rehabilitation Dep artment {“MDCR”). This letter provides MDCR with our fmdings.

O_n April 2, 2008, we defined officials ot`Miami-Dade County (“Ccunty") ofour_inr_ent to
investigate the MD CR corrections facilities pursuant to the Civil `Rights or” lnstitutionalized
l`-‘ersons_.r-'i.ct-(“CRil’r*’i")j 42 U.S.C.§ 1991 CRIPA gives rherDepartment cf Justice uthcrity to
seek a remedy for a pattern or practice cf conduct that violates the constitutional rights cf
prisoners in adult detention and corrections facilitiesl CR[E‘A requires that we advise you cf the
findings of our investigaticn, the facts supporting them, and the minimum remedial steps that are
necessary to address the deficiencies we have identified 42 U,S.C. § 1997b.

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We conclude that i:|iat there is a pattern and practice cf constitutional violations in the
correctional facilities operated by hle C`R, and as a result o_t` the unconstitutional operation of thc
Jail, prisoners suffer grievous harrn, including rl.eatlr.. As described more fully below, our
s iecifi_c findings include:

c `i‘v'il`JC`R is deliberately indifferent to the suicide risks and serious mental health needs of
its prisonersl ,f\.t least eight prisoners have committed suicide since 200')', and thousands

of prisoners have suffered from inadequate mental health crisis serviccs.

¢ MDCR fails to provide adequate acute care chronic care, outpatient treatmcnt, and

 

 

 

 

 

 

 

discharge services to prisoners with mental illness instead, lv,'iDCR inappropriately
relies on n edicatiorr management that fails to consistently incorporate diagnoses or
treatro cut plans even for prisoners with the most serious mental illnesses

v lvl"DCR is deliberately indifferent to the serious medical needs of prisoners including
access to care for acute medical needs, management of chronic health problems and
record keeping and quality assurance Prisoncrs wait weeks and even months to receive
consultations for care irons HI‘r/', cardiologv, end neurology specialistsl

v MDCR ‘r"s:ils to provide adequate intake screening initial health assessments and acute
care l"or newl _,1 incarcerated prisoners Since .’ZDUB at least five prisoners have died from
l\/lDCR’ s failure to iecnti fv and treat prisoners Withrirs wing from drugs or alcohol

-ir; `MDCZR is engaged in a pattern or practice closing excessive force against prisoners
lle C.R, corrections oili cer's openly engage in abusive and retaliatory conduct ericlr
freque s_tlv causes injuries to prisoners

:n “\-1"1)(‘ is dr ii"oerate] v indifferent to the serions risk of harm to prisoners posed by rcilow »
prisoners Corrections officers fail to supervise prisoners particularly prisoners known
to be violent re so ring in ongoir\ g harm and serious risk of henn. Thcrc is significant
evidence to he concerned that the s ail fails to lake reasonable steps to protect prisoners
front sexual ass ault

s The conditions of confinement v.rithirr the Jail expose prisoners to art unreasonable risk of
harm from inadequate tire and life safety systems and ecvirorenentsl health and
sanitation det`r cicrtrcics, including unreasonable risk of infection from overcrowding and
inadequate lannr.lrv, housekeeping,. and post control

n. reves*l‘le 'I“Sti§ll`i:

C)r: lone Q`l 3,2008, June l.,6~20 2008, soo April I- ii 2009, We inspected the facility
together with consultants rn the fields of corrections custodial medical and men al health care,
suicide prevention, road environmental health and sanitation We interviewed administrative and
corrections sta Fl’ medical and mental health care provsders prisoners,n sod rnernbers or the
tvliarni-Darle community Our investigation also included the review ot policies end procedures

incident reports grievances medical records end use of force recoros aan investigallonsJ
including documents provided inv the County subsequent to our on site visits Irr keeping with
our pledge el translnrreocv and providing technical assistance where appropriate our constr 'tants
conveyed ti ieir prelirrrinarv impressions and concerns to County officials and the l\/[DC

command staff of the conclusion or our tours

‘J\"'ca r-:'c g ':-‘=len`;ri to r\_»’l_lt)( ll Di rector timothy P. Ryan and his entire stai`i‘i`or tire assistasce
and cooperation o;‘<l ended to n s 'v‘v’ c found the ivll`)£"'li officials helpful end _proiessionai
ih:~;ror whom the co rise ot' th c i rvestigntiorr. iviDCR r1 ovrdcd ns with acco rs to records end
;Jcis noel and re ',pondetl to o‘.r_r rr orr rests hei`or o .l;rrin§s;, and after or.r orr»srtr,vrs is in a
transparent rand for th ceiling rnnn;rcr . Wc also api,p.;cciete l\;lDt',i s.:*eceptivenes s to col
consult acts r_§-Si'rc recor'r'rrnetr<ilr'rtioris

 

 

 

 

 

 

 

 

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._o..t?.,» ,. .Ww-.~_....._.~

'l'hc corrections facilities operated by-i\./lDCl_?L (collective`iy “il\/iiami¢l)ade County lall” or

"‘tlie iail”) hold an average of 1000 prisoners in a, complex oi`buildings spread out across the

coonty, making it the nation’s eighth largest jail The Jail has sia corrections iaciii.tics: the Pro-
'I`rial Detcntion Ccnter (“PTDC”); the Wornen’s Detentlon Contcr (“WDC”); the "[raining and
Treattnent Centcr C‘Stoclcatle”); the Turner Guilt`orrl Kniglit Correctional Centcr {“'I'GK”}; and
tire Metro West Detontion Center {“MWDC”). Ad-clilionall'_y, M'DCR operates a boot camp
program with a housing facility adjacent to TGK ("Boot Canip”).

The prisoners incarcerated in the Joil are awaiting trial or sewing sentences of less titan
one ycar. Two ofthe ich facilities5 PTDC and ”_|_'GK., are booking titoil:§ties_ These two facilities
process and house all classifications of prisoners P'I`DC, the County’s main jail building located
across the street from the County Courthonse, has approximately lt?_GU boris for male prisoners
ana TGK has 1,300 beds for male, female and juvenile prisonersl WDC has 3?5 beds and only
houses ie:nale prisoners The Stocitade: the oldest MDCR §acili‘ty, has approximately l,‘).oll betts
for adult males The largest ofthe five facilities is tire i\/EWDC, which is located approximately
`i6 miles west of PTDC and downtown Miani_i, ancl has approximately 3,(}00 beds i`or male
prisoners of all classifications

I-.lealth care, including mental health care) is provided to priso nch on--site by Con~cotional
li[ealt_li Set"-ficm (“CHS’-’), a division of the Jackson iiealth Systeni ol` aiianii-Da~;le County (a
community healthcare system consisting ot` iackson Memoiial l'lospi.tal, primary care centers,
health clinios, and rehabilitation nnrsing;, and mental health facilities)‘ Atir_litionally, tito Jaclo;on
_M_er.norial llc spital, tire largest of tire medical centers operated by the lackson Healtlr System,
maintains a specialized unit known as “Ward D" to provide emergency hospital care to MDCR
prisoners in a secure environment staffed by MDCR corrections officers Eac"n month, CHS staff
members see several thousand prisoner-patients, several honored of whom require physician-
level care, and approximately 75 prisoners Wlto need inpatient care at Warcl D. Moreover, of the
approximately 7,000 MI)CZR prisoners on average l,OCIO suffer from mental illness making tile

Jail one of tile largest psychiatric facilities in l~"`loridat
nn ,_s_rnnnf~tos

A. MD CR PRGVIDlES C()NS'I"ITUTIONALLY li`~liitl) EQUATE il'l§ED] CAL AND
'MENTAL Hli.'r¥L-'§`H CA,RE.

 
  

l oil prisoners have a constitutional right to cc protected t`rotn lear
Sii U.S. SZS] 832 ft 99'4), and serious risk c.)t`haim,iglrmwtt_unl>\`l l\.fic,i§_jtwt;t__e;tj, _ s ,
{1993)( `vi,"`ltetiier that intrth takes tire lorin o‘t`iliness, in§urjr, ot tlnunane contirl'io_ns,jailors
cannot display “<ie-lilierate intiiffcrence” to a prisoners serious -ceds.\, : r, 501 l.i.$
seat sce-scs noon raising tsant_r;ti;r~lpggt:, 429 ‘o.s. srj jto_t-- too t_;,, _

 

 

   

 

). ` ra;t)<:a is
deliberately indifferent to inelile of suicide antl tire serious 'tne<iica| ann mental health needs oi`
prisoners its illustrated below, the constitutional deprivations ttnco'\/ereli`iiiy otis i,t:_'»»'osl.i‘r'*tiori
arc not the result oi`isolated incidents or the misconduct o_§` tow i\"i_l_)CR s'tsit`nroinlzers iostca<i,

 

 

 

 

 

 

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sale

MDCR’s deliberate indifference to protecting the Jeil’s psisonets from harm is o systemic failure

1. MDCR is deliberately indifferent to prisoners’ suicide risks end serious
mental health needs.

Our nivesti geticn revealed that hill Clt is deliberately indifferent to the suicide risks end
serious mental health needs of prisoners who present symptoms of suicidal behavior or serious
mental illness Seel stephenij Bisesj l( 9 F 3d 1353 1362 (lltli Cir 1999} footingtiiste
failure to provide proper medical care includes n psychiatrist providing grossly inadequate
medical care); genesis §liici:i -S? F. 3d 126 6 1259 (`1 ith Cir. l996) iseme); 71- else 7
941 l1'. 2d 1495 1505 (ilth Cir 1991) {no'lng that “thisc oci't has acknowledged that t31e` 3 '
deliberate indifference standardl isn applies to inmates psychiatric or mental health needs “).

Fuitiicrmore, jail officials have a constitutional obligation to act when there is c stiong likelihood

that s prisoner W= -.ll engage in sel.F injurious bchavior, including suicide S__ec S'-now en _111_!_ honor

553 13 11111:11*1.,1?1, sile_., 420 F- ad 5262 i268~59 -”'1 ith Cir. 2005) (noting defendants arc

deliberately indifferent if therc' is n strong likelihood that nn inmate Would commit snicidc_). 111

jail suicide cases alleging constitutional violations, “the plate tiff must show that the jail otiiciel

displayed‘ deliberate Lndiilercrcc t-'1 the [ni:tnner s inliingo' fills own ]ii`c.” C’;i§ ` ' c;=;._ _-1_‘1“-11' loivic‘ .
"`heloni“oo Lm.inii,f, 4021`.311 ltl§'i ll li (3 |tli (`11‘ 2005} (quoting _gtg,“

334 F. 3d 980 986 (1 ith C' tr 2003}) Dcli`oe etc indifference ls demonst;iited hy:

 

  

 

   

 

     
   
  
 

   

n itc Wiin 1

;“(`l) subjective knowledge ot eiisl< elections henn; (2) disregeicl_.oi,. thstrislc; (3)`1)3,1 conti1 tci

that is more than mere negligence.” ,§_j_oolc. 1102 P. 3d nl li 1 15 1_q_noting ‘Q;gi_e not 986).

Wc obscured systemic failtnes to address eerions risks 01`1:1`13011€1" suit idc and to treat
prisoners’ serious mental health needs ”ihonssnds of piisoners with serious mental iii -nese have
suffered 111 the lai`l` m recent years withont adequate core instead medication management is die
only treatment available and it is plagued With en ors. The Jeil does not provide adequate mental
health cilsis services including access te: be de 111 1 health cate setting for short-tenn trealnn cnt
end acute core (1111 inpatient lew el of cere); chron_c care end/or a special needs unit for prisoners
Who cannot ii.inction 111 the general poj_)nletion; outpatient treetru rent for prisoners in the genersl
;sopulation; or sewices foi prisoners in need oi`fin“t`liei: treatment at the time of transier ton mother
insti_mtion or discharge to the community

a. MDCR is deliberately indifferent to prisoners Wilo pose a significant
risk of suicide and seli`~hm‘m.

1:"1£J'l'1il- ivlinini~i)ndo Coor;t} otisoiie:ls, incl ldt:i ng one in ivisrch 20l1 conn rri`ttcd suicide in
tiie cast finn ye e-'nis i= 'lnstl siting thel 11.1 n. 1csu7;‘ti1'1 g l 111111 ileCR’s failure to tsl;c reasonehie
preventativm measures

  

____ g ':i (_):1 Ivl. 111h2 o 203 l nl :_=11 5:1;111_)711111111£-113,1 91 ’i;$ -_:) ..,111 A. li 324~
.,1 meiej committed suicide tug __1spl13:1intion with n ned sheet tied amend his

nccir,. sicle1 Wns booked on Angn_s: 3, 2010 111 vicious ti -unes dining his

int.::e;ccrolion et lleC_‘.R, lie 1,\,-'21.€; evaluated o\ monte 111 licr-.ili_‘-,_;)rcviders ns suicidal

 

12 ' 'lo protect the identity oi_`pt`isoi‘ter's, we use ceded initials throughout title letting

 

 

 

 

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-i.`;

 

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11
1_2_- -
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22
l-:

A.N. was housed io the general pcyoldctrichnlt. On Febrccry4, 201 l, less than
one month prior to his dcath, A.N. was evaluated 213 suicidal and placed in the
suicide precaution housing unit Ho was subsequently returned to the general
psychiatric ortit, whotc he reportedly committed Scicide on Mcrch 261 2011.

,£lrel§ 1112 r,jxl'_§’ On Septembcr]o, 2010 21. approximatelvl§§() p'n A..,G 21

3_1~1_12:211 old male Was found by 21 correctional offich hanging in liic cell A G.
was booked ori Seotember 10,2010 Tlt.c next day the Ia1lt12inspoi.ed himto thc 2 5
cincrgertcy rootn, noting him .o be combative and psychotic A G returned ]ater `
that daiy, vtch seen by 22 mental health provided and subsequently cleared t`or

general population 212 medium level custody on Scptoml)cr 14, 2010. 'l`ltetc, A.G.

reportedly committed suicide on Septcmher 16, 2010 by affixng 21 sheet to on

upper comer portion of the cell and asphyxtcting himself

 

Mcor ofi»;f 1: 011 Pehroar;./ ll , 2010J A.l-L, 22 dU-yeait-old fcrnalc was found
by n correction o ticor hanging by c bed sheet AFH. Was booked into the
Womeo’c Dctontion Ccotcr on Fcbrttzrry 9, 2111()_2, Slic was reportedly coen- `oy' a
in ental health care provldcr and cleared for general population Stl‘cccqnciitl;,f1

A _H '=;vns cent to axlil)iolctrative :~:cgregatt`on under medical observation Thcrc,
A li. re_:,)oitc-=dl'y committed suimdo on Febrnnry ‘2_`.l, 2010 by affixing 11 sheet to 11
v cna end os_oliy:r.ittting l'1 crsclt`.

 

 

Eh_c 1__3_2_2__21112 cf£gl__.;t; ; 011 Moy 2€3, 2009, 211 approximately 4:45 a.m,, A lr,g 21 314-tocco
old 11221 was found by a correctional officer hanging from 21 ceiling2 light fixture
by 21 hell 1sticet. A_l. was subsequently transpoited to thc hospital 22nd pronounced
dead A. §. wax housed in administrative cogrcge;tion t`or most of his confinement

due to the high profile orier of his schmchl

  
   

On shoot 13,2_00‘1 A. .t`,- g SG~yeo old roclo, entered PEFDC.
ldte _I:1 taking _ 21112 '.211<12`2 ocre`ecing process doctrich t pesoncrm cecil of
ludncy dialysis Accordlngly, this prisoner was housed 111 a health clinic cell at
P lDC. At approxiinotcly 122:30 o 111 on Angttct 15 20(}’7 c corrections officet
found 2‘1,1. hanging from the cell 020:3 by a bed shoot Tho prisoner Was
transported to the hospital, where ho survived until life»sopport equipment was
disconnected eight days la.tei't

 

   
 

: 011 luly 9 2001 A_K.. nBZ-~y car- -20ldiiale colo-rcd l-*'l`l)(`.
le housed in aidmiJ istrat.tvc sogi cgatioo doc to the high pi'loft_c

Ylh” i`-_:»rg`§,"; "
lots piisot“ict

1211 trc of 121 o charged Lcsc than one monili lath on 211.1_2§11:21'5 2091 21 correction-5
otf'; cor too 2d A._.[~’L. hanigioi;' from the cell bare by 21 bed Shect T he prisoner was
;tro121;21111ceo' dead ‘o}-' the l\/l`i€troi-ll}adc County Firc `l?ccsc“dc Department upon their
212‘1122'2212,_

, ; (`311 ”`\_oril 120 2907 Arli., 21 Z`l*§;cot-old mold1 cnt-:trodll'l`l`
22 irm £f' 'ed to l~`v,fl'“r' l 22nd hoost in ncimttt§sti'oti\le scgreg-,olioo

doc to the l2ig_l1.pro"1'dc rt tc oflns clrétrge:»v 011 l‘»fl`c'y 211 21367, 21 coi‘i~ec€` 215

r.'rt§"iocr thor-21 this ptiscncr lizlti§o`n_s__; front 21 coilii_i;»_l, grate by r2 hcd :2122222, '1“ 1122

    

 

 

 

 

 

 

 

 

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»»W,<»f-_i-; 1“,.¢..4

- ,. t_ t_._,_.,:.t. _.,e

t_t;._§ _

prisoner was pronounced deed by the Miemi-Datle County Fire Pteeeuc
Department upon their arrival

 

~ ` " 7 ' i§;t". 011 Angl,tst 5 2006 A.ivi., at 41- year-old male entered lYl`DC.
"’he prisoiier was housed in 6 multiple~.oceupancy 65 gasification cell at PTDC.
'llie following day, Attgi:st 6, 2006 other prisoners di seoveted this prisoner
begging from the cell bars by tt shoelaee The ether prisoners yelled for
6661'6'66.1106. A corrections o:ll"ieer arrived hut did hotltiive appropriate tools to out
down the ptisohet so he gave 6 prisoner his personal keys to ltv te 6titl'1im flown
Althoug,h ileCR pollcv requires Ie.»",ponclmg corrections efli eets to initiate
cardiopulmoita,ry restt.se'ltati6r1 (“CPR"`) the orisorier tvas 11 ot administered t` ‘R
until nursing Stei`i ert'.- ver:l six miittttee latei. lleCR’e investigation of this Suieitl&
te-veaietl that A.ivl. had expresseds 1161661 ideut;§ -on several months oaIli er end had
3 history of et least one Suieide 6tt611'rp t, 1161 the: tzfvvhieh Wts§s elicited by MDCR.` 6

acreehing ptoees_s.
l) Suieirle Rlslc and Merrtal lletilth Sereeniog

loeoim'ng orisone:s serious pavehietrie needs ineltrtli:zg seieid“-l ide'tition go
tiriitie:tti tied end utitirldre§seii title to MDCR s deficient l::te-.ite scree:iitig [)106666:. Del thereto
intiii`i'e1ehee to t-t uprisorier’t v serious medical needs violvtes, the Eight’n Amendment. ' 47 '
"a§§H . ime 533 ll. 3d lZSJl, l'_lt tl':' (llth C 11'. 23(}9) f“.3e1'ieus medieeln eerl 13 tietemtinerl
by Witether 6 delay/111 heating the need worsens the eontlitleit ’“1; l tl`“" 1
1235 1213 (1 lth{ Jlr 2003) (no ting a serious medical need 16 one tlrt.. 6 clliigrt sect by 6
physician as requiring treatment or obvious to :1 ley pereoh, as neec`lin rig medical eere}'. _6'_ee §lso_
MW 1 M_ _9`:-, 839 F Stipp. 1346 1256-l2757 (N D Cz\.l. 1995} (“While 61=6ftm.ti611._1lng sick :
cell Syeteiti cellbe effective for physical ill 1166666 there must bee systemie program lhr 1
screem`_trg and evaluating vimrtates in order to identify those vt-'ho require mental health

treatment ’ ’ ’j.

 

 

 

   

 

   
     

W@ fo Lm£l the Je-.=il’ 6 suicide risk and meetalh with intake screening to be deficient in
several ltev respects Signifreantly, the intake form does not require the i':tttl<e officer te ask the
prisoner if he 61 she` is currently Suieide_t orlias trhlstt)ry ot`t st‘. ioicielhehevior Nor does it require

the intake officer to solicit input from the transporting ofiieer upon e prisoner 6 admissien to the
.ieil. ’lhe form also 11066 riot indicate he 1.'v' realty questions must he anew “1'6(1 tit-irmzttlvely' tri
order for the con eetioi;e officer to make 6 refeu el. lit addition te the oeiei.te in the ihr_m, the
601661111636' are conducted m 11 let ge open room ill full view and he ming range el` otlt t‘-r Stel"f and
prieonert '=. 'l`he l leel;' tot)d of obtaining aeetirate mental lie't1lthini:`oi:11_1tit)11i6 eeiiously
6611"1:»161::1<; cl by the l'iel< ol` privacy One 6 ‘-he intuitt l"t)lm i6 complete it 116 placed 111 the
izritictrti' l)i:‘-ol<;iu__s; jet~.l<_et tatlte1 than bci 114 fm vv 616 eti th ste-ll colitiu-e! 1113 che second tour id or

scieeriin g.

"l"he .l.-f-lills eeet)titi retired m`l`iiitnl<e seteoni :,t;»_; 66 r :,110.66 1.-y‘ eiti 165 tt social \vtirl<ei for at
nurse, also ot,ri'its important inquiries inchitlihv wtit,ttier th6 otis tel is currently suiei ir=l, had a
;’ec.etit '~ivl“'it\'“iiit ‘.G:v‘e entlft)t 661 icle hv feet i|yi‘her"’n J't 16' et lt;-se §`rietv_is I`it 3 nursing 6`1111"Ftv'l1
6616:61;61. lrefei: 1 ti6011et5 loi 111ert:i1lhealth seivi-:‘.:¢. vis-61 111l01111t:t'l 16 the ev 110 1101 icv. evv the
intake :.zcreei..-.‘.g form etiittplete<i hy' the 116 ke eottt:t:ti 01166 " thus h.eg€t ii,J the entire

 

 
  
    

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st ,~¢A_' ___,,_ ~_.._..`

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ia-

purposc ot` the screening byti'ie intake oon‘ections officch

'l`lic efficacy of the second round 'oi'screening is also compromised by CHS’.'§ failure to
retrich chains or other doomnentation of prior mental health treatment or suicide attempts from
previous incarceratioos. Fo'rt;lier, social Worlcers at tile lail do not have access to thc l ackson
lioalili Sysiom computerized records from treatment at lackson l\.~"leioorial liospit’dl, Wtdch would

provide valuable inform ation about previous mental health treatment and suicide attempts .` j
Communication among medical mental health, corrections and transport staff is important f
because certain signs exhibited by suicidal piisoners can totetell a possible suicide Statl` may lie j ;;

able to prevent a suicide by communicating and acting upon these signs 1

'l"hsi‘e also is a failure to consistently provide screening infonnation to medical and
mental health staff via placement oi screening foams in the clim, and there is no formal
corrioiunication between intake screening and classification staff Without fonnal
communication botwcozi screening and classification staff, prisoiioi‘s With mental illness or at risk
oi` suicide can be placed in housing units that arc counter-therapeutic and potentially ¢'.lat.igerous1
based on tlic wlluci‘aliilit§f of these prisoners §ie _l_l_§;, 429 U .S. at 104_05 (pzison officials
have an obligation to take action oi' to inioirn competent authoiitics once thc officials have .
knowledge of a prisonc-.‘i:’s need i`o=: medical or psychiatric carol

 

Wo cbs owed that certain PT_l'}C housing units appear inherently inappi‘opxiatc and

potentially daugei:c.:.us for nl entail y ill or suicidal prisoners because of title types of prisoners 1
housed on the floor (o,g‘, violent maximum security prisoners}, the chaotic atmosphere; the
design of the cells (e.g., traditional Stec‘t cell bars sum'ounding the coll), and poor officer visibility §

into tl:te cells

2) Suioiiio Risk and Mcntal Eealth Assossmeut, Ti“eatmeut, and :.;
Observation ;. _l
MDCR,tails to properly observe and assess suicidal prisoners The mental health staff
fails to take adequate precautions to ensure that prisoners Wlio have bean identified as at iislc o.i`
suicide axe protected They fail to Wt'ite o=:ders that specify how closely corrections stail` should
obscure tile prisoner and fail to eeassess the prisoner dsily'. f
§

'l`lio Joil’s observation of Suici-;iol p;isonc'rs is dc'ticient in both policy ami practiced
iiiDCR’s policy fails to clearly describe tiie types of behavior that should result in a prisoner
being placed on obsewatioo for s‘uicido. Tiic policy also does not closely delineate between the
types of observation that iit-ay ‘oe implenit `* ‘<l` lnstcati, t\:iD'CR policy has a snigle o"osewation
status: “[lliiie staff will molina-is direct coo:inuous olisei‘satiou of suicidal oi'isoooi"s and
clocoroeut checks at intervals not to exceed every l5- inioul'es." Altliough it requires

   

2 Pi~iot' to our A _)i'i_l 2009 site visit tli§s screon§n<"was dooeli a licenscii tactical noise
t , a
t“,l,,l"t\:”’), who was not t;t"atueil_ itt id-ont'iiicalion oi" mental illness oi: si.iicido.o'si:j a common theme
that ore hi glili;-g,litod dutton ou-;‘ lone ?,(flt`lS site visit B‘y' the time o.i" oor if\p'rii"£l}[l.() site v"§sit,
MDCR had staith assip;i'tin'# "-. social woii<'ot' to conto|cto this sot'oeoioi=v d.ur`ii'\<v ot‘::iinar »' business
g b t _ \_') -`:»

lit.)ui's_ thilo this assiwi‘-,insnt is as ito.-‘:>roven~:oi'it, ioii§tiinsd "l,¢PNs still conduct the solomonG

b ] b
al cr oi'tl.ina.ijJ `ousii ass hours

 

 

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j._3 -

doctrincntatiori at iS-rnioutc intervals it app cars to require constant obsciw ation. in practicc,
suicidal prisoners arc not constantly obscr\fcdi This is particu`,=arty- dangerous for the 'fcmalc
suicidal prisoners at WDC who arc housed in cells that hare urolrusicns that can bc uscd for
hanging '

’l"‘nc .l ai`£‘s clinical asscssmcnt oi" suicidal priscncrs also is inadequatc, A psychiatrist and
social worker share an oflica, conducting simultaneous interviews with thc office door open
isliilc ot`ncr staff enter and exit Progrcss notes wis rcvicwctl did not document suicide risl<
assesstncnis cr justification for any particular icch ot"` r:>b"scr"tfation.3 ln iact, thc only indication
in a prisoners chart that the piiscncr was on suicide watch was a notation that inc prisoner shall
“rcrnnin on 9- C~i ," Sucii a notation docs not constitute a suicide risk asscssrncnt. Inslcad}
marital ltccllii staff rn ust do commit thc prisoners current behavior and justify inc particular lc'»-'cl
c t` observation that is ordered Futtiicrinorc the Jail docs not require dcvcloprncnt o§ trcatinctit
plans for suicidal prisoners '

    

The dcfs Ci`cu_ci*-’»S 'G` "Ili-is;asscssntcnt pro€.@$§i sic csa cc,rtiiiii“z'€t tires ':cii`iciciiciiisriocoastal
licritttircustts. `_D;qtly'zpsyctiisi:nc.rsitiiss: c'ttlicsii;ost seriously in-- ill`:j;zisscri_cc , lfitsccil`f`cn_
thc ninth flour of P'i"DC', arc conducted ccll-sic§c, in ii:ili view and hearing of the otlicr prisoners
Tlicsc rounds arc conducted quicklyf often without psychiatric review oi`prisoncrs* charts
Aithongii CHS improch its psychiatric rounds `oy making prisoner charts available to
psychiatrists during rounds our ol)scr\,’ation rcvcsiod that thc psychiatrists rarely consult tilctn.

  

Cornt)iicating tiicso deficient assessmth troatrncnt, and obscrvation practiccs, 'Wc
obser co that prisoner medical charts did not consistcntly contain a mental `ncal*di diagnosis t`or
prisoners rccoiving psychotropic medications Basic clinical processes rcquirc development oft-1
diagnosis in ordor to treat thc mental iiiocss,

For csarnplc: A.B. had an initial psycliosccial assessment on Dcccinbcr.?) l, 2001
Aittiougl'i A`E.’s chart did not reflect a mcntsl_ health diagio_sis,i_"-_\..B. Co_nti_r-.ocd to recoch
psychotropic medications for at least six months Sitnilarly,' A.C.’s chart stated that ltc was
rccciving psychotropic medications A.C.’s ciiart also noted that ha was “l<'nown" to thc mental
health tcam, yet tirch Was rio diagnosis CI~IS staff informed us that tire failure to diagnosis has
bcon are ongoing pro‘oicrn.

A_ltl‘icugtt MDCR’s Suicidc Prc'-rcnt:?on policy rcquircs that medical staff tlctct'niinc line
pcrn'iiltcd activitics and posscssions for prisoners on soicidc watch, CHS clinioiaos informed us
tliat, contrary to policy_. inc practice is lot corrections stati¢"to make thcsc decisions 'i`iiis pract'cc
is inappropriatc. For ci;arnpic, i\,'iDCR__’s practice is to require each prisoner _placccl on tito 9-€
swing to w car only a safety stnocl< Wit`nout an y unclcr-Wcar, rcgardlcss of tth spccii"ic rcason for

_,WWTM .`,_,.__.._ .., .v._._._.._....._m, a:.;..._..;_m..m.; .:

3 W"c notc that "_r `_`il‘;. docs novo a standard operating i‘iroccdurc_providiog that itic.iitsl iicsil'lt
sliii"l" conduct assassincnts of prisoncrs placed in scgrcgatiori in a safety ccli sith 24 liours, 5
<lnys, 150 days o iriont'li$, and cvcry 6 months thcrcat`tcr. Wln'ic wc commend MEJCR for
i:zq)lcincnting._; t`§_iis __p'roccd'nrc inid attempting to addi'css thc p<.)tcntial for dccornpcnsation ot`a`:
prisoncr*`s mistrial iicaltiz- status in scgrcgation, it appears front documentation tliat, in practicc,
incritai iicaltlr stoi`l` tric'i‘cij,f “scc*’ thc prisoners on tiicsc intervals Witliout conducting :»_isscssiucots_

     

 

 

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the prisoners assignment to the unit. MDCR and CH_S need to have a clinical justification 'l`or
limiting the property end clolhing issued to prisoners l"f a prisoner is issued only s safety smocl<
end no unrieiwesr, it should be because this is clinicsily indicater.i, not because that is tneusuai.
prectice. Corrections officers should not be locking these decisions

 

3) Medication Aclmiuisirstion

MDCR’$ procedures for administering psychotropic medications are dsngcrous. We
observed nurses administer psychotropic mcdioeiiom on PTDC’s Q-C uring during our April
2009 site visit The procedure is for one nurse end one corrections officer ic Wsll< from cell to
celi. in thc unit With a cert contending drawers of aiphahetioslly arranged paper medication
records and medication bottlcs. Upou arrival et cecil coil, the corrections officer cells out the
prisoncr’s nsrnc. Eech cell houses muitiple prisoners; however, no process was empioycd to
verify the identity of the prisoner to whom the psychotropic medications Wcrc gi' en

The medication administration procedure lacked appropriate controls jailer the
corrections officer attempted to identify the prisoner, the nurse iliopco through the paper records
to try to determine if"tlle prisoner Wns proscribed morlics.tions. She Woll|ci then poor the d
medications in a cup i`or the prisoner. Wc observed the nurse repeatedly _oour§ng medications
beck and forth between the incriication bottle end the cup, With only on eye account of the actual
number of pills to 'oe incii.nle<_l\ 'l`hs nurse also had to cut the pills in holi` on inultipic occasions
With on ineffective pill custer that caused flsgrncnts of the notice lions to fail onto tire emt,
resulting in inaccurate medication dosing.

Wc observed several prisoners tell the nurse that she Wns giving them the wrong :
§ medicationj or dossgo, or st the wrong time frame Six prisoners received no medications, even ii
though these prisoners apparently required on intensive level of mentsi health services ss they

§ continued to bc housed on PTDC’s 9-C wing shot psychiatric rounds had token §)iscc. ‘:"or esch
oftliese pri.soners, the nurse flagged the medication administration record {“MAR”} with thc
reported intent to later remm end review she medical record for verification We concluded that
the l`oil‘s medication administration is chaotic, inefficientJ and fraught W`nli risk of errors inst can
; cause serious henn to prisoners

M.n¢,v.

4) Suicide Prevontio.n Trsining

The Isil fails to provide sdcquste suicide prevention training to all corrections nictlicsl,
and mental health staff Sncocssliil suicide prevention is s colluboraiive process among oil stsH`;
lmo‘:l.r'e‘.'crz training is particoi-arly critical for corrections officers because th cy nrc often the only
staff who ore sualisbie 24 hours per clay and who have reguler co n‘§ oz With prisoners .[‘rc-
service end annual training requirements silonid he clearly sol forth in the roicvnn'-. policy and
should include su'Flicicnt topics to ensure flint staff erc sl)le to reco gni:ce inc verbal and
`i>eiiuviorsl signs that indicate a suicide risir_, know when to do when s risk is susnoctocl, end
ln'_lderstsncl how to respond when there is s suicide anenn_)l {gcncrzrliy achieved through mooi<
tlriil.‘>‘),

    

'l"hc 'oi§__,`nt~i)our lrnining pl'ogi'sm in.iti'¢ltc<i in A;n'il 22¥€? is no zdrnory i`or Mi,"=’§l?\ slsl‘?§`.
(.`;'nr review of suicide prevention training rccoros ss ol`i¢lny 22 205& revealed that oniy

   

 

 

 

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approximately lO% ol"tvliIJCR’s over 2,()00 corrections ofiiccrs lied recoivcd it, Nonc ot`CHS`s
nursing staff lied larson trained in suicide prevention even though intake nurses arc charged with
identifying suicide risch CHS mental health staff also did not receive any suicide prevention
training until Mey ZO_U_S§ when a facility psychiatrist provided social workers with a onc~lionr
workshop consisting of seven Powet Point s`lidcs. Nota§)ly: ?;\ilDCR’s suicide prevention policy
does not address suicide prevention training rcqtnrenieots.

 

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linen if the Jail’s policy appropriately required that all corrections, medical and mental

health staff receive adcqoate initial and annual scicidc prevention training carton-t training staff

resources at the J all are woei`o|_ly inadequate to complete even just the initial training on o timcly

basis As Was' the case in .April 20 l'i’ with tlie inception ot`MDCR’s training a single training

oili,cer is responsible for training all MDCR, staff According to this staff persoo, it will take

approximately six years to complctc initial suicide prevention training for all corrections oiii coral
g _ mental health care staffl and nursing staff at die current pace of training and training staff lcvcls.
'l The lail is unable to adequately train stal`t`Witli a singlc training officcr. Motoovet, training
pw;l`ormcd by a sole corrections officer omits itti§aortant instructional input imm mental health
and medical stat`t`. 7

MDCR’$ corrections officers also tacit eutocien't training in emergency intervention
Aooording to MDCR policy, ali corrections officers arc required to be certified in first aid, CPR,
and the rise of an automated cxtcrnal delilnillator i“:i.ED”), Altliongh training records Wcre not
available during our lone 2003 site visit iVlDC`R officials informed us that only approximately
'75%. of corrections officers have actually received tile emergency intervention training that is

 

 

 

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l required by 'policy. The impact of MDC`R’s failure to follow its own policy of training all
corrections officers itt emergency intervention is evident in MDC`R:'$ inadequate emergency
responses to suicides

br MDCR’s s egregatcd housing units for prisonors with serious mental

t illness and suicidal behaviors arc inhumane and o_oconstitoti_onal'.

: 1) The physical conditions are dangerous

ii Prison oftici_als have a duty under the Eiglitli Amendmeot to ensure “ressonablo safet‘;” a

l standard that incorporates doc regard for prison oi"lf`t<'slals3 “oncnvial)le task of keeping dangerous

men in safe custody under humane condition-s.” t"jwtj.g;ro__oljr 511 U_S= at 345 {q‘ootir:tg ll§iltgg, 509
:_ ` U.S. st 331 A. prison o`t“ficiai may bc iield liable under tile Eiglit`o Amendrnctit for denying
35 ' bottlch conditions of confinement itti_cltnows that prisoners face a substantial risk oi`soriotts
harm and tlisrcgarrls that risk by failing to take reasonable nicasttres to abate it_ iMcr, 513
U.S. at fift'? n.li'. In addition clei'ncnts ot` the conditions of conlinernent'tnay establish an E~ighth
Ameridmcnt violation “io co::'ni:iootion” even ii` each would not do so alone it`“tlroy have a
normally enforcing effect flint orct`znoes thc deprivation oi` a singlc, identifiable human need such
‘ as t`ood, warrntl'r, or ex erciscw---»l'or e'sarnplc, a low cell tci'npctatoro at night comlintcd with a
noise to issue b‘taat<as." rlj_;’_t_t§_<;_;_t____ " '” ct sol U.s. ar coat

 

  

"i`lic lai.`t houses male gori somers Witli sctioos mental ilincss and suicidal behaviors on
li'l`l)\’fi*s segregated ninth iloor, B'C. Win,g. Prisottcrs co too .L}“C' wing arc looked in their cells
costly '2¢\ hoots a day and do not receive rccrt-;~onon2 |.elo~oliooe calls or i.¢isitatloo1 unless they aro

 

 

 

 

 

 

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in one oi` the live stop-down cells on thc n-‘ing.‘1 Rathrzr'tiinn

    

 

 

  

'n`trir§: rr niro,wdod:_ depressian otto _A log nrc
morality iil_,or sui __ 19 singlo~b“n;r win fern 113 .na:onnitt;r ill or

.nicidal, nnd tire cells arc frequontly double or even rri'pii: lanni<'ed. in fnct, nrc coloniath tire rate

of overcrowding during one day of our vioit, Inno iO, 2908, to be 62%_groatiy oxncorbnting the

already nbysrnol conditions on the wing Wi'rcn these Singie-'perr:on colin house more than one

prisonerj as tlrcy o iron do, the second or third prisoner must sleep on the hare iloor because there

is no additional mattress or bedding inc iloors nrc often very cold, 215 the poor circulation;o'f tire

wingo air-conditioning traps tile cold air in tire cells consnir_g tire imperatier in thc coils to drop
as much n~; 20 degrees below room tcnrpcrotnro. Dtm`i;g our lime 2003 site visit, Wc also 7 "`
observed tlrat, l`or some of tile Q¢C wing prisoners who do have a bed, tire bedding in sornc ofthe
coils {§.g._, colin to and 19) was so old and worn that it could no longer be adequately ssnil:iznd
and sl'iotli,d have boon roplaccd.

Fcrnalc_;.)risoncrs Wiio arc identified ns s"tlicidal are housed in five cells on the 3)-C wing
o_l` tho WDC The tivc collar used for ouicidal prisonch at W";[)Cl are dangerous ticor-intro they novo
many protrusions, including ventilation graham exposed pipes in tire toilet orens, and 'n los in
restraint boden all o'iwl'ricl‘r ore potential nncl"zor points for scif-nsplryxiation. l‘~riorcovor, there are ~
several blind spots in those cclir:, preventing officers from being able to minimize the risk oi` a
suicide ny cioscly observing tim prisoner. in nnrn, the WDC suicide watch cells provide ronnie
oppornnritjr for tire exact outcome that they sho rid bo designed to provonr.

Becansc `t»'.‘r`DCR Stnii" and prisoners are aware of tire hor;id conditions on tire 9-{.1 wing}
sitan will ti:_ronren, r,)nnirnj and retaliate against prisoners by trin'r$fen'ing t`ncrn {or threatening to
nnns't`or tlroin§ to the )-C Wing. l?or oxnrnple, Wo reviewed nn incident report ‘Erorn l\/iorcn 14,
EGUS, in which a prisoner Wnn kicking his cell doc-r, asking to see n doctor. rifth the Jn`it sent n
nurse to oec tim prisoncr, tire prisoner continued to l<:ioi< ins door, demanding to so = n doctor. 'l`ho
nurse oridc'rcd.that tire prisoner be placed on snicide.prccontions nnd, when tire prisoner refused
to loo handcuffed for transport to tile ninth 'i`roor, officers sprayed him With oloornsin cnnsiounl -d
agent {“(JC spray”`) and escorted him to this 9-C'Wing. Wo could not iind any documentation in 3
this prisonor’s file that indicated this prisoner presented a risk of snioidc cr had acute mental
illnc:n;, *Wo sp otto with many prisoners who consistently reported being threatened with transfer
to tiio 9-(] wing

T`tio conditions ot" the PTDC ninth floor mental health unit are not now to MDCR and
Connr_\f ot`iic`iais. Ovor tire post sever rd j,’oars, print and television news medin, as well as tr non-

r-it too time or our Anril 2009 tm_n', no ro<‘,ront?.or.t officer W:-is yet available to provide
recreation to the pris‘,onors on the 943 wing, rla-onU nrccro?.tion officcr Wns re rort.o=:_'ilj,r going to
iJ- i”ilrttt'iv
5 'l_`iro tbn'i odor oi'tiro colis, and to tr slightly longer o tenn tina root oi` linn wing in national in
port by inc practice oi`not _[:~ro‘v'iding; Siiowcrs for tire more arontclyrncntnlly ill or suicidal
l;-risonnr:»:, Wc ol;~.,cr nd n gordon nose rittnclrcd to Elic'wali on ter El~'C wing w`nioh, although not
in oro duringl our risit, reportedly linn noon dated to pcrir.:dioally spray prisdnos‘r in lion o'i`
Slzct.-wcr:>'~._

 

 

ongoing inhumane conditions 011 the ninth floor a M_iami~Dade _Cc_nmty_ ganci jury toner the d

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fiction hook, have repozted on the deplorable conditions of the ninth iloor Also ohronicling the

  
 

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'-mncl~tdmg tix`;ii “l`_hj:zt much him thihig,ed

?.) h"IDCR fails to provide adequate mental health services or
other programming appropriate to the needs of prisoners
Coni“mad to mental health units.

Despite the fact th it MDCR oategot'izes the" j- -C wing as ts hodel lng 11n1tfor prisoners

who are acuter menta`: lyl ill or Suieinal no mental health orogi.amming is available to the
piisonets confined there Gtosslv 1111 ompetent 01 inedeqnate care can eonstimte delihelate

tn_‘id; defense to the p»,~leonei s needa Widttt Lven‘§, S?l F 2d 1030 1033 (llth C:`u: `

1989) (qnoting §§th v livi' ti;§;_, 792 F 2d lll."i$i, 1953 (l ith Cn', 1936}} Anyindividnal contact

with clinical staffi.s done oeil- aide Whe§e clinieians atempt to assess the wise-new atlieidalitv

and mental status 113 talking to them through'the food~tray slot in fuli view and hearing a range

ofthe other prisoners in the cel`§ and 011 the wing _ y

 

MDCR also does not consistently document a clear rationale explaining why prisoners
are housed n 11 the 9-C wing rather than a less restrietive sett.i 11 1 hot example7 we reviewed
documentation in W ."W. ’S medical chart tindiohting thal, hetween Ap).‘.i`i 23 and hiay 26, 20@1“3;
v\" W said ne Was " eil“lght, ready to be L1 anat`er'reci Was “alort, cnlni: and ooope_tative,” and Was
“awel<e alert land had] good eye contact ” ‘1 et W W remained on the 9- C" wiring t`-:>r the entire
month despite clinical notations intimating that the 9-C ewing `Was not a )pmpn`ate for `W W

Other 1:1:1.\:11 mar chang we reviewed contained nn 1at1onalc. Fm transfe; ring a plisoner flom othe1
mental health units to the Q-C Lwing, 1301 example X. X. Wns housed on the 9- C Wh:v dining tile
Weelc et our April 2009 site visit Yet them was no doen§nentatton' 111 his chart suppoiting the
Jail ’s deoinion to move K.X. from the !-)-B ming-a 1111-lt for prisone§‘sa With less acute mental
illness~to the 9-C Wing.

cz. M.DCR’e distipiine process fails to account for behaviors that are the §§
product of n mental illnes;\;. §

Miothei erjti<:nl shortcoming ofl\d`i`)£‘tt‘e mental he alth mel'vi "es is `l‘v'iDCR"S fai"iu‘;e to
ens\ne disciplinary penalties are not imposed 011 1111`sc1ne15 mth ments\i illness fo\ conduct that 13
symptomanc o: theirmontni tllne:m Soe' _l`_§ ,$l?,r§,ztmj 614 F 3d 1238, 13G1' i”,' (llth Cir
2010) lrln.oldint:»,zthet\ epeatodohemieal ;pra‘yings 1 f anienta ltv 11 pn`sooer constituted ‘1 1el and
willsnal punishment When facility did not evaluate Whetl§e: the nn south ‘s coe duct tv as
vm[itomntio oi` mental illneae) Although corrections :§tatt` indicated thatdv,o1p111111rv 111eastlree

 

 

6 ‘?-inal Repoxt ofthe hiia1§~i-ljade County Gran d linv l?"all'.[elm ZL"O'.T at 27 (FhiC i.1‘ Ct
"\L‘lgn$t ll= 'ZGOS).

' Czn'ol tait‘~=:r§)i.n leilile:,_ ` iqll 111;_1_1\41'»\: i_,` m ‘_' E\.flintni lietnld, liot)li§imrv 20,

211§)9, 11111.

 

 

 

 

 

 

 

 

 

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are “ra‘i‘ol;¢r used” for mentally ill prisoncrs, our review of records cf dieciolinary proceedings
egainettnentally ill prisoners tevealerl l‘nat they were routinely subject le discipline for their
symptomatic behavior. There le no formal system at the §all for CHS mental health staff to
advise or consultwitli corrections staff that conduct disciplinary hearings and assign punishment
t`or disciplinary violatione. Corrections staff who perfonn these functions agreed that mental

_ ealth staff shoulr,tbe formally involved in disciplinary decisions regarding mentally lrll
prisoners.

2. Nl`l) CR is deliberately indifferent to t`ne serious medical needs cf prisoners.

A corrections official‘s “clol{berale inclil"l`crence" to a prisoner’e serious medical needs is
a violation of tile Eigln‘n and Foulteentli A_meaolmcnt$. :Eelell'c', 429 U.S, at lO¢l,§;a_}ggm ` ' __.§§,t,
320 `F.Elcl 1235, 1243-46 {.ll ill Cu‘. 2003};'5-‘(`4"1§, li'f 336 al l269. .l'ail Ol"llciaib‘ act With
deliberate indifference Wl':en a prisoner necos serious medical care and the of&clals knowingly
fail or refuse to provide that care. falling 320 li`.§d at l2415. lite Conerituticn is violated ita
prison official “lmowe of and disregards aa excessive risk to inmate health or eatety." Fmroet,
5 ll U.S at 33’_7. Pr<mdlng, only cursory care in euclr a situation amounts to deliberate
lnclll"t'e'-;enccr film 'li;l.;l§!;§§¢:;,l§§ ‘- 182 F.Bll 1248, 1255 lllth Cir. 1999). Coarl'l.tions violate the
Conel.ilulion_ if they pose an unreasonable rile of serious damage to aprlsoner’s current or future
liea.ltlr, and t`ne risk le so grave that lt oll`encls contemporary standards of decency to anyone
anyone unwillinle to that risk @aMuB, 509 ll`.-.“.>. al 33~36;.§lian§h?f '» _'379 P.Ed lil&
1239 rt 1 th ma aec-al `

 

   

 

   

 
 

MDCR 'l`ail:l to luentlfy ansi treat prieoner$ in the Jail Who present obvious symptoms of
serious illness and irijraj.'l When MDCll does identify prisoners in neeci of medical treatments
the treatment provided is otten iueul`tlcieut, placing thc priecners’ health and safety at rlslr.
Prieenere are needlessly auffcring and, in some cases dying, doe to deliberate indifference
Below we highlight flee major areas of denmenoles: correctional medical care intake screening
and initial health assessmenta; access to care for acute medical need-ug management of chronic
health problems; record keeping and quality assurance

a. MDCR fails to identity timely the acute and chronic care needs of
prisoners booked into the Jnil.

MDCR'§ tenure to identify tile acute aocl chronic care needs ol`prisoners entering thc jail
te clearest with respect to those prisoners who arc withdrawing from drugs and alcohol Ao a
reeult, prisoners do not receive necessary care, winch in turn, can lead to tragic resolte, as the
following examples demona'lxatc:

; Ou july l"~,l, EGOB, E.E. Was processed into the Jail an=:l

an in screening at a;_)prc_.\tinlalely l:iJO a.m. on july 211]. "l`\»\"elve hours
lalc\_', " ". were pronounced cleaz_l. Tl'lc intake acree»ning, complete:l by a licensed
praol \ \ l’l\l"'_l, indicated no ruceli_cal problems crllislol‘y of drug or
alctlllr)l"ll:>‘t‘,, and l§`,,l:§.’a l\c-:lla\,»io‘=' WFJS monell aS appropriate At 513 0 alma
liowever, E;.ii-`.. eull`ereli a eei:),orc_ Altltou_glz an ambulance was cailc<l§ neither
lv.ll`,lCll nor Cll§€ l`l`u'-.ul'los'_ir.cri E.F,’.<a ltarl:zter to tile hospitalz 1\ nurse
co:it`iuct:=_-.tl .). medical ats$eu$nieul' ‘l"i;)ll<)win;_§;tlre eeir,zl-rc and noted llll":‘»l:\looil

    
   
 

  

 

 

 

 

 

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pressure to be 2031’139.’3 Desplte this high readings there 15 ne mention ofthe
elevated blood pressure in the comm ante tn the assessment 311 the prisoner’ s
medical 0111111. Additlenally, there was 110 mention of the prisoner being
diser~ienteil. "l his 15 netewen§iy because 41 social wmkei elec evaluated E.E, end
documented that E E appeared letharglc and disoriented At 9: 30 a 111 MDC_R
415§§ tren§pe:ted 'B F to 1345 §ETDC ninth floor ieexit:tl hee§tl-i unit §1151-§ ri"=i`eet_el

‘ 7 see 41111§115§11§15'11 CHS sta §§ did net ee'evei erder treetewiit 1301

  
 
 

1151 55 pon§iee 4111-..--111115§5:1““4,114 __111<1 to the 411`)4511511 155 555 he was peenemenl dead

` ' ,. § 331 B B 11151114411‘¢§21}1 22, SHJHR 1115551111144151' ne eiite1e4l the lall
1343 §§511 5111440135 of clieg 1554 _531“-54,1§_§. 515§§15;11511511 §5»1<§111'4; B B 151154;151151115
in hile cell, and stm'ted CPR Steff did not hewev04, use 511 111110117151@6 external

':` “114104 ("55,1:5”4 "’ in 445 ' 54 44 1545 54 510514 55 555 455 115 15
:Lv-e:letz_le fur 541 eme14ei1cy 5111441145114§§4§11 5 4_)115<>11151 is wl 1110-11 beta a pulse 15 cl
1esplrations.1\llo§e nnporten: despite B B. 5 knew_iz lti§l:)rv e§§ 1111;4 wll§nli§w 411
N'lDCl\ did 1101 provide 1114 aperopn 415 level e"§. ekee§'*eie:)il end riieeitetéin
B .’13. 5 condition

 

 

   

  

, 415 45§ 514§4’ ¢"1 414 was 511§;111311@1{10 the Jail on 5§4)1`131 §‘_.4 2§§()8--11:1511;'§§1’<ldtl15
1444§11*5§1115#’ tie§t.- A. A bed 41 lnetery of serious nnedleel prel~ll*ms, ineln§ling
congestive heart fsilu:e lw,yrperf.l=.:nsien1 end heart attack A`c the time of 1115 intake
A. A. 1455 withdrawing from elcehel, and CHS staff placed him 011 a
detnxiticatlen progiam Hnwe\. er a detoxltn;atmn form Was 1101 completed end a
15115511,15:1 11in not sign the heel th eegee*:inent fmciieeting that 54 ph 451411111 1114-1551
meteei the 115141>.*5 5555551115111 tin§§in:,s:) 1411 3 1313 541_14 en 511,;5§41 9 54 11 "' '
1115'1;§»4111:§: was §§91'__`102,5:1£1§)}1 101 00 51..111 it was 913¢’].4§1 le.ee A.A S;
l1'15;t§_;1`1§5 end severely elevate dbloe{l pressure A. A. sh§_§_t-`il€l. have lieun nmneiil§).tel 15
eated by a physicians

 

 

   
  
  

  
 
 

‘: 011 Me___i'en 6 2953 §atDLR:u§Etlmle preeeeeed C §`i 11111_5 the
111 elweiei§ rpiilse el ,»
1111§ 114-5151411 . 4 .-, 5 health 555e5551m111 1511 §4§4'1§:5]1 'e fatettcetmg 411411 a pl:§;eir:wn 1116
1101 review the nulse s assessment fin dings), and although a nurse refe1re cl C,C to
51 physician clue to the abnormal pnlse, there` is no eeoumentation of 11=1151143 neff
conducting folluw'up Vllal elgn monitoring 011 the ne‘:€.l dily, Me':en ’? , staff

      

 

 

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51 nernnal elnecl '411'%5114~5 reading 15 t'§UfBl].

 
 

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1111411<1451/15§0114 11111'14)1'15051@: écet:is 4re11111t'11'i11414} 1e1/4eweil. ’ln

 

     

0111151:5- ct§` 415'4113'1 1`11 1115 ez; ;nnples 5511)c)v11leél nine net been §1>111'1:= ll“j 116151'511.11\6

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gedden

g n Al: l..i_"_d :54~ n ~. 4'51\111 11 clc ice 1111:~;1`511e11 le cle11151 :111 eleetzle si" 1414 445 \5§4;1£111 115
11411(§111;: ..1 :1‘.5-`1i-;14)11le1te1551155§11':4111111_\51`|1111:510134"5`11111‘-1411;1`=:051<;¢:

 

 

 

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'~1»11_3_.»1\»~."~¢1: 1 <.11'_11»1»1

 

 

 

 

 

 

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found C.C. unresponeivea but did not 1133 1111 AEI) as should 1313 expected 11n11o1‘111e
oircn 1511)1110€$.

   

¥’w 111 » IV§DER of 1311113 p:tooessed D D. 1n101111311111 on Novembe'r 6,
2007 D D. died onNoveml)e1 3,2001.D011r1g the intake screening end 11111111.
assessmen€;, CHS. 31211“111311111`1@1111111111`31:111-11111 D D 3 ohestwall, as well as
symptoms 01 drug 111111111111111111.€1-18 staff ordered monitoring 01`\'11'31 Signs and 31
foDow- op apoointn'ient 1112-111 tire 13113~31011111 on November 11 There' 1121 oowovez no
documentation 01 v1ta1signs1monitor111g,anmd the follow~op appointment did 1101
comm 111131132111, on Novomber 3 111-18 staff reported 1111di11g D D. 11111@31)0111:1`\ 13
and transferred him to the hospi£al, Whece 1113 died

     

Theoe prisoner deaths demonso‘z.’co 1111111111113131311313111'11§ and 11311];11 nsaosqmeotr are
woefully inadequate Obvioue medical sign s and symntoms 31101:11‘11£.'33312111'13 and
115011131111111011,€110 often missed 1331 MDCR and C1.132 .,2ir11’1` 13101=111113111~,1511@ 13 D s chest wall
1111`"1:11‘ 011 or the elevated blood pressures of E.'-E.. 111113\ F`= 31 the history oi drug odd 1111:1)110111313
113 L%.B., D.l`L, and 1110’1.,3 111 not 51111' orth 31 addressed

Screeni gs and 1113111111 osoeesrnent§ most be timely dod 111111'011§11, and completed by
competent 13101`<31;.<;101111111 with the necessary121111111112€01de11`111y 311;121111"1“111310313 11311<11 to 111131;111er3`
health lost 113 important correctional 1111.='.1111@51 1111151;1.111\1: 11113|113 11»¢11111'1 o s stems 111 phoe to
ensure occoon'tel)i§ 113r 101 er:‘ois~ d:. at lead 113 giex ona 11111~2111.331; 1111 ` 31 509 U S. 11135;31'111;113§` 5
1;1»131111101' 379 F 3d at 1289.1111131'.`11:1 deld)criltely indifferent 1212131: 111011111112' 1313 plow 1121 012113/ 21
cursory cale (01 no cane at ell) Woen the need 1;`011110123 nerioos medical 11331111311113 obvious at
the time 01` the incid.ont, odd then made pim`n 133/the resulting 1151`1!1. 15 1_.1;_11:1' 511 U. S. 111 331

 

 

   

b. MI}CR fails to not on known medioai problems discovered th3o1\gh its
“sicic-e; 11" process.

MDCR prisoners can request medical trezdmeot 1111011gh Siok.~oali. De.<:pite 1111 `lcnowledf'e
of Siol<»eal`l 1301:11313:11115, the 1311 fails to take timely and necess 121-'13 denno l`his failure to act is
nncons‘f`itution al doli`oeraw indifference To prieoners‘ oerlous 1211 edice! needs Estello, 129 1151v
1041

CHS r11t‘1'51ng 51311`11'111§<3 Sick-en`li oornp1ai121m dunn 1, routine medico don administration
These brief eell~oid€ interactions do not allow 101 ndeqoe,to 1133€11511113111 or 111ed101111011
3111111111:11:11111011.1?113011015 ore denied p1~1vac31, 112 as 1113 assessment 13 done with ollioi prisoners
31111_111111§111 line for 11:1edlcnt1`or1, well w1t1111'1 1111 12-:11'.113 dial once

1\12- uses do not employ protocols or 2155311311113111 found 01:1111_2 1110 3le c '1'111| diego We
oboezved 11111:2.133 motioer f11111ng 10 take and lees-111 1111111 sign\*.. `\fjl';ll 31§;11:3 311011111 130 o pad 01
every 1113 diea_‘-;_ clinical eneonnte end11'111321 ivoo._old 111111@111¢1110<11 11:¢01:1 111 addi_ don 10
ii“‘se ooneerns, Wo 10111111 evidence 111-at ;1121§01101'3 l1nd to 111;»11<_0.. gov-311 :~:1-;',11:-1:11.|1 12131':_111;=1‘11'£ before 11

.1\.»
151

1111130 won.'ld initially eve11lete ther.'n, dod then prisoners W-;)old cod-ore o :<lens:ve 113111 3oe1"01'o
seeing 30113#31;2,111121 older ~.-21 11111'33‘3 reforrnl.

 

T`l'irouf’i*. C`§iS`S sick-cali nooess_ CHS 13 made aware131`111‘1`;1‘0113111~* 1211/1113 1_11131_111:111
b 1 1

ooodo `1{'131 C`HS 1‘132)131311:11121/1 i 112 10 01'12,11'111& 1113 11121131-3;11:1 :3‘ 1e\1'el'=»_1€ 12111~1:. '1`1113 31111111:1011 amounts
1 1 \. ,

 

 

 

 

 

 

 

 

 

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'."* 515 .<.~5~.‘>,5< »5.-» »»1

~ 2...1111\ .1=.:;_,'.1_.' :.;`~`.111\11¢.~:1`~5,£~ -111~»_ .._ _ - 5. ._.

-1,5-

15 deliberate 15511¥5151155 resulting-111 grl:,evous 1151111, 55 the foélowing 55511111155 1151'11011511515:

5 IIYM ` ` m';§l.".f;"j. _l" F a 513-year 1116111515 withhypencnsiun, died 5515511aty5,

?,UUB, 1155 15011115 afterwng admitted to 1115351]_. 011 Janum'y 2, 2003, F.F.

compla 1555 to a CHS 1111155 ofche,st and gas pain. 1¢1 501111)15111151 gas 1151111111151

115 evaluated carefully 555 fully 111 a prisoner With hypertension 555 111 1155 1155 for

heart 5155555, as gas 555 mimic heart disease symptoms. 1115 foll<)wl.ng clay, 5

physician 51551'5515515 to 1515 out heart 5155;1;~15. F 1' 1155 supposed 111 555 the _ _V
physician again 515 11551 day, but did nut, for reasons unflmown. 111515115, 115 was
55511 by 5 nurse Who ad11111115tcr5d an 151155151 N`o nursing protocols Were used §
during 1115 ex 5111 The 5511151’11 51"1)0115 1111155 exams 511555555 the scope of 1115

11111555’5113111`155115115. 011 Earmary 5, 2003, F.F. 1555 brought to the 1115:11551 clinic

111.11 esponslvc

  

111 L`§§g_§@r;j_gig G, Ci. died 511 1’)51_5[11:1 23, 20071 1115 day befo;c 1115 death, a
CH S~ 115155 51/511.115511 '1”1`. G. 1151 5<1111515`11115 of 51101'111555 01111521111. 'l'he 11111"55;5
0511111551 111115551151~5 11115-1155111plet5 13111“111§515 exam 110 111151. 511;115 were
taken 115 lung 1-,: 1151 1555 551111115t2cl, and C.`i.G. w 15 511;y given 1115515555111`51'11
51115. 1115 51115\111'11_:_5 clay, GG.111555 1115 555-515 compia=.lnt 555 was taken to the

`55551511x Whe:‘e he 51_5='1,

 

F..F.’S 5115551. pain and Ci G `51.\1111011'5555 51 brc.lth 15515 5511555 11151;1'15111 5ym;11511:5 111‘51105.1
to 1115 11555*1"1011 0 f MDCR 1155 Cl-;">I ` 151-1111 D1'31 5551111113 the 511<;55511!51151§5 to 1115 511501151"5
115511311 and 511€513' MDCR 1111le 15 prc)"155 511 appropriate leve§ cf 5515

c,. MDCR fails to provide adequate care to prisoners with seriou,s_
chronic medical needs.

The 1511 15 deliberately 1551ff51511: 115 5r15511515551~10115 15551551115555 When 111`511515
identify or adequately treth 5 1111501151"515:11555 5111“5111'511111555 LUM5I5EMH1MM '
_A_Ula., 116 F 35 1419 1491(1€5("'11 1997) fmoting 11151: 5110£1`15151 acts With 65111151'5§5
indiEferche when 115 knows that 1111 11111151;5 15 in 55110115 need cf m5t11551 55115, 115111515115

51 15 111555 511 05t51111:11551551 treatme.m for 1115 11111'1211:5). 355 1555 1, - 1 . = ,
l’}tj M ., 41115' 311 l 176 1186 (lltl:l Clr 3994) t“l<lnowleclge 511 t.l“<J 11555f5r1115515515111‘5
555 111:11111111551151"11.551 1;5 provide 11111.1. care 551151;1111155.51.1151tat5111111&51'51:155.”)

    

 

 

 

155 5y51511115 nature of MDL'_‘R‘s 55111151515 15511`1`555555 15 evidenced by the 3511'51"511515
to 55515111 5 §.15511511£1`1 51111111'15 511151;110;11)15111.151151111515 wl 111 5111`1.`51 from chronic 1115111' 551 '
1111155555 mus"'1151'5§,11]51*15'1111111115;55 by 511»11`111511111@:1155‘; 1115f555£011<1l515 13151,'51111115
510;;1555101'1 cf 111511 1111155555 :ylc)nltnl‘ir)¢;'s 5l1\1111cl 555111 1111 11 mgm-111 115515 to 555515 1551

~`3.`/`1‘1113? 1033 1111‘1111551 551'1511121-51=1111 1115515\1151151151511}11111111`515. 15151111511'3'11115 mortalityrat::s
01`1111305€1'3 15'1`111 5111'51115‘;111l5555~1 1 1151511\1555 551111 1555151111551151153.
'1`115 1511-d 55 115 11115`5 11115511515 511111 5111::11151l111555 11-'1111 <.111110:' 1115 11 551151110115

Cl1111n.i~, 5515 510<51111111 111 5<1111..15151151 s@ttin="»< .,5 1115 5'1'1515'1115 avoid pl5 c.:.iu,§; 5115011515 151111511.1i0115
1115515511 555515111 5215551:11511:;11. 1115 11.1[1111* ‘1111,:111 515-1551115::2115111511<.151<:5.551111155`155|`11155

 

 

 

 

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2 1 1'..7 -

j developed by thc 1»[2111011211 Commission on Correctional Health fiare ’*7 1TCC`1 "” .'l While the
1211 eleirne c`i 10 be 1`0`1]011171111; the NCCHC guldelinee, our review ofprieoner charts revealed ihai
no 01110111<; care pro g1'.rr exists For example we found prisoners with HIV 111/ithout any

§§ 111e:11c21‘c`11_111.Wo also found prisoners with diabetes and hypertension 71th wer e Wifhout expected
tests 111 ore:'ei to assess the status of then kic.rieys, ohoiesterol leve1 or11e211111?1111o110115. A11d ,
prisomels wit-171 histones ol;` ee1zor<:s were not 1110111101€~:1 closely to determine the level oi“ iheir _1
sciarne medication, which 151 1113¢17.-5.1'21:151J 213 incorrect dosages above necessary levels can cause 3
serious side-efiecte, such as brain end heart damage

 

1-- -».W_mw -1.1 1

111 addition§ 11 critical component of 21 chronie eare pro gem 1<= appropriaie and timely ':_ ?
referrals to medical Speoialists. MDCR aclmowleclged cle1ays 111 consultations for epeoi'aity -
Sc1v1cee such 213 eardiology, neurology, and 111 -re`iafed $ervlces. The Aneatg court eletecl 11121§

"rlefii)enilu indifference to Serious medical needs is sho wu When prison 01"1'1<;12113 have prevented
21 prisoner 110111 receiving recommended treatment or when 2 pilsoriel 15 denied access to medical
:)c 1011111:1 cap 21!:11 e of evaluating the need fm treatment ” §11_9_:1-_*121, .69 1".211 211 104 {erllr,g?i¥“mos

 

 

 

1 011111:\1'1`111\1' oi”medieal charts and interviews With CHS 3121111111'1:2111,<111121: HW~jpesitive ,
3 1111:;1011@1"11 may wait up 111 six Wee};s for a Specialist roi`oiral, end that oiher ch.i.onic ooedi[ions can
1 take oven lor=+j,e=.'l 1101 example

__ :;: S,S."l'lad 1111111V~reletecireferraloi'ciei‘<:clfour Weeks prior 10 our
3111 no response or report had been given about 21117¢11;1;,-01`111111@1111:11111:

 

   

- § torn

 

.§ ¢ 113911;'111211;1 ‘ _ 1sz O. 0 had 21 neurology consult ordel ed frye memhe 1‘111117 10
1 our 1our, but no response or report wee present 111 the medical 1eeord,

   
   

M 1.>..1. n had e` eerd§ology 6011111111 -o11;1ered neaii]y 111}§:1 months
1111‘1 110 respoll$v or report was _];1;“1§53 1 '

r.-,

 

 

111 R. l1ed p1oble111s 1121111 cl1es1 pains and had 21 emdiology cons1111 ordered six .V z
Weeke prior to mn tom but 110 response or report was present 111 the medical §
record -' 5

wm`»- 3.-»1- . .

 

__ 7 ‘ 11_§11{`1_ Q Q hecla history of carried e2111oer, and 11211121 21 nceolo
601111111: orciered seven wee"ce prior to our tour 111111111 response or resort was
present 111 the 111e111r:211 reemd.

 

 

‘1"111:1'2:15; no tracking eysi;em 1010111;\:121111111;; 1:1111§1,11121111111 ref 7"1111.11 111 uec every 111 1r21c'12.
_ 1111`:~1 1111`01:111211_11'.111, 215- prisonors with chronic conditions re ulre 11 higher le rel of medice'i e27-17r7 than
"§7 111 1_11`1e11 21y11ii:1hle 1111-1111e, 11 211111._11§ 1116-111 more 111.'11:1121111311~1 1171 11:11111. "1111;~1 clel'§o§e;le_; 1:0171.11`1§11 1221
4 1‘§elibe1r211e11711'_'11'1`1"-;11-<111112;, 511_1;21;<1 769 F.?..d. 211 ’_?1`1€1.

 

 

 

l _ - .1..7...11..1...7.1112;7¢...77_`.-..\»_11,.~..~.- - f - 1 1
l` 11 5111)11.|.<1 be noted 11111111003,1\1£.€11€ elevated 1111-1111 §1111e111e1'1t 1)‘1' 171 eirro; 1113 care
71111<'=' 721‘1'1'1 1’1'21111 .111p111'.11111’ 111“@1111<:111111'1,” emphasizing f}ie necessity 11121 1111'1-7¢11111111`1 elirenie 1::11=0

 

pi;‘}> 1 gl'ci l.n.

 

 

 

 

 

 

 

 

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cl. MDCR’$ poor record keeping practices contribute to the pattern or
practice oi' deliberate hidii`i'cr_enee to provide adequate medical
services

IVFDCR toilet to kce;) oornpietc, accurate readily cccssiblc, soil systematically organized
medical records A complete s:nri adequate medical records system is critical to ensure that _ :
medical staff members are able to provide care, lns<:-eurste or incomplete record keeping places `
prisoners itt excessive risk oi` serious ii.srm. "

',i`lic documentation ot`mcc‘ficol information l"oi' lvl`DCR prisoners is done in part through s `:
paper-bused system noll in part through on electronic system maintained by the lackson iieait"ii `
Systern. The CHS physicians have access to the electronic systeio_ to check laboratory riots and
consultation r@orts, i:»ot tire Cl-l`S physicians cainiot enter data into the system lnstesd, Cl.-iS s
maintains s paper chart st the lsil, T"oc current system requires physicians to use both the proper
charts soil thc electronic system to ' ccess complete medical information about s prisoner
lvloreo'vor, othcr C'HB health o'e.rc slowJ including nurses rio not liech access to the electronic
systorn st ol`i; tli.trs, laboratoiy data in tile electronic system is not readily availech to CHS ooo-
;>iiysicisn mcclicr:.l: stsi`t`.

wit t'i.,'.i'...'o

lvieriicsi charts otten contain no incomplete medical history,‘ tail to document specialist
sppointments; rio not include tire medical staff merril)cr’s name and ti i;le attached to noles; and _§
ore illegible i\'ioreover, the Joii’s medical rccorcis fail to consistently record vital signs during
clinical encounters As n tort above, vital signs slioolci be port of every clinical encounter nos
most bc recorded in the metiicofl rccord.

In addition and contn ry to l\/iD CR'pollcy, many charts cio not contain the nursing intake
screening or tim booking officer screening 'i'hnsz medicsi_ san mental health staff members do"
oct howe information from a prisoners previous incarceration trott often do not have information y
from the intake-screening for tile prisoners current incarceration Eveo Wiien the current nursing ‘
intake screening is on file; MDCR relies on self-reporting by tile prisoner without the`l)coei`it of
review of prior trcstnient st the Jsil.

B. M]J CR §S ENGAGED IN A PATTERN UR PRAC'HCE O`F `US]NG `E-XCESSIVE
FGRCE AGA}NST PRISGNERS.

"l`i'ie Eigi.ith Ameoilnien't protection t`rotn cruel soil tuios=.isl. pimisln-ncnt forbids tire use ot`
;rrei».osivc physical force ogoiost prisoners l-l'ti"` * t its »ivii\ ` §i, 503 i.\l\$.`»\ i, 5‘? {`l992); `
ix @§MW"§GLHW§LL§L 280 lich 1291 1309-til -'\l l (..1r. 2002); AS tile Diic Proeess Cl'dusc ofthe
l-d ourlcentl"i A=.nenrlmcot s§foi"cls st least tito some l§i';-giitli ;’\.'i:-icnclincnt- protection from cruel toni
onusooi punishment to sprisonor o'i` 'd_inil inerooerstcci prior loo trial ns it ‘o-'ocltl to a convicted
ptisoocr, fli)ibtw___gjz, 463 i},S. at 244,joil oi;`i`iciois Wi` i<oiote tile Coustil_.otioo if they usc
rs routinely usc excessive i`crcc

  
    
 

  
  

     

 

     

 

c.rcessivo three on jail prisoners i‘~.#‘§i:)(il“\ correctional oi.`lice
ogsii'ist inil prisoners in \fiil.;ilolion ol`iiie Conslitutioli.

 

 

 

 

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and sadiaiioally to cause hamm " l'~`ladson, 503 U. S. al 6~.;7:

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'l`lie 113c of -."oroe by a eo'rieotiona officer violates the Cor\a titutioii When it is not applied
“in a good- faith effort to maintain or restore discipline ” but instead 13 administered‘ maliciously
§ __j§l_ if.§lg§§, 169 F. 3d at lB?¢i;
__ _ 31119? F 3d 499 50$ (l l th-" `ir 1996).Co1irt.3 rnay examine a variety ofiaclors
in deierrninu ig whether the force need w as axeeesive, most commonly including (l) the need
for the application of foree; {2) the relationship between tile need for force and the amount of
force applied; (3) the tiirc:at, if anv reasonably perceived by responsible corrections ofl`"err-; (4)
any efforts made to temper the severity o: a forceful response; and r§) the extent ofthe prisoner 3
injury §§ aileen 503 U. S. at'? S; Garalhol_i, 169 ll 3d at l'_ "15: §___iairis 921 F 3d at 565.

 

 

  

Our investigation included an intensive exainiriaiion ol`MDCR use offeree polieias,
training and incident e'poi t3. W e alao conducted many staff and pri3onerinte1'view3 on this
issue in some cases our findings of exoea31 '1/@ or inappropriate rises of force are in accord with
the eoiii:lnsionzs irom MDCR’S 1iowa lnl.o:aal Al`t`§a -1~3 Unit investigat'-_ one

lv.lDCR oorroetiona oftieei 3 one il y engage in abusive and ietali tory conduct .vliieli
frequently rosalie 1111`3_1‘§1-11@3 to 1111 c\t)nor<\ in partienlar, there' 13 a disturbing and distinct trend of
lV]lJCR ooneot.iotls officera reacting -_o low level aggression from prisoners high abusive
language or pa3sivo ioeiat; race to an oirioi) by slapping or punching the prisoner in the head aad
verbal`=; y provol<i mg do prisoner lo physically respond MDC R corrections oiiicers often do not
atterr.:pt any d ~e:';calalion tr\rl~.mqi\e 111 combat lowl level aggressionbeti)re engaging tne
prisoner in such an inap_piopiiate mamer.

P`Lirthei MDC ll corrections ollie ':rs frequently employ OC apray under oiromnstanoe§-
that do noi require auoli a level of l`orce. Dieturl)ingly, during our interviews with MDCR
corrections officers most oliieer$ could not articulate Wlieii the use of OC spray Was appropriate
Only a few ol"l"icera W eie able to coix.zpe‘-;eotly discuss MDCR policy and explain the use of OC
spray as a last reeoit`oefore using physi"al force to rest rain a resistive, violent or combative
prisoner Wlien asked most oili care were unfamiliar with the policy or guessed at responses
offering ineorzip§ete ana avers 311 oh 33 “when the prison er doeen’ tlisten to you. '" Well“trair; ed
corrections officers should 'oe able to articulate clearly and Witlioiit hesitation the level Ol
prisoner 1e31313n\,o ne cessitat`ing t::ie deployment of OC spray----o:r 411 §§ other use of i`oree- »~ as an
appropriate response to restore and maintain order

"l`lie following exaniples,, some derived from MDCR’S own internal documents and
investigations illoetraie the ,attern ornraeti<:e of maing excessive 'l`oroe:
§ 3 P [` D

-ia= _1_)1 named i"=-irr f_ virgin (`)n Aii;a$t£? Z'.G'C 1,’1‘ ni ne MDC'R correclions ol§ieers;J
including a old 'l"r‘?a nina =1 'Ul“iieor, allowed piisoner 91 N and an officer to migag;e

z - :.1;.\rolonged net tight al the l»’lW DC Noao of ina officers involved filed a 1133

" ,_orr:rz report ‘v§ ll£‘ §§ inv rs'§iir.itor<~ discovered a video oi`ilie light Wliile

` ' "§§ent. ’l' 1111 Yideo showa._' "~§fr';iiia‘rigating a light wiili

_ , 1ponor.n§1 lay 3111:1}'1`11§; §1,._¢, .'wil'li_ O(`- spray n aecon

ofi`roor kent olli -.ei pr i,<;oner<; at an . 3- leagf.l: wliil e the pr§.=soner and the oilioel then

engaged in .1 ii.\zt Hglii Over a matter of m.lniites, up to nine other oi_r’ioi .

nr:.nd»:" .1.§ li: rt ta§led jo int:= ivene inllie'&glit

 

  
 
 

 
 
  

  

  

 

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5 5,:_.1__5_'1 ..;M ._...“.' .....-~,~‘,'

  
   
 

_` Pnscncr 151 123 tendcrcé 11331'01’11 31010110111
13153 R 00111010`151'11 WDC 335111:01151
w ' 1 .? 7

1110 view 01` 1110 300111‘115/ cameras 13111w113 dlaggcd 1311011 001 01 1100 11551110
officcr:~;, 151 second 01101051110 run toward 1110 camcra view was succc ssfu`-;. Thc
001p01+01 §1111_1§31£111_ . , 5 `-`=-10113.10135 1103__1';5'1:`1.101, 1103 013011<0__0'.`01111 and punched him
113 thc 1000 051110 1003 3110 mmcwm 11 1110 11111,011311€ 13111`.1~:11 also Shcwcd 1113

_F ':5:11,13111’0§ A. O.’ . 100010 1110 .11_001‘ Wh‘ilc A, 0 was rcbtrmncd 111 handcuf-E§
ML»FPJS 101011101 A`i";_l';$ ` UL 3031-3£3011 1110 0110550110133111531;111 giving 010d11'01’1_1y
10 1110 0013 00115;111011 vidcc, despitc A`O.’ s 11"_111103 001101301'211:111;_0, 1110 131130001"0
11111000011111. 1010111111 Affairs 1111’11101 110101111101 several corrections 0151`10013,
10011111113§ 0 3111:101’\11301', 01111@111`0.11011 10 reporl 1110 incj,dcm 01:<;1.11‘0101§,/, 01‘111<1 1101
report 1]~_5011101`110:11 111 011.

 

 

` j_: 11151`»`5105) 300311101`11011111`:11131§ 51115000.11..1-1 0115111~11111311
-110011'1

  
 
 
    

5 _ ' _ _ _ __ 1113 13111:1113:11_0 113111 000 01
1110 0330_1‘ 01"'5:`11.111':1. A' P. 0101:111.5 11.,101€1-~001'1`10 _ ,1_:11_11;_1_011:11315110_10111
A`111101..=5513 1110 prisoner rccchrcd 010001‘01`1011 abcvc` 1113 cyc, 110 csc 0:"- 101 c 1001~:10111
1053011 Was '[ilcd.

 

* 1 31§51133331)101101£ 000;111; Wie 10111:1051011.10 view videotapes 1100111'0511101111)/
' 5 11111?10 31 1110 1115"`§01'0111 10011_11103 1300 01` 1110 videotapes mm P_' 1213`1§ s ninth
11001 mental 11001111 1111113110111'011 a priscnci being dragged 10 11 0111111 1151 00110101
MDCR 0011'0<:110110 officers and then handcuffed :0 a table 11115_=.:1 being 1’1;11111111:11
111 handcuffs 1110 111ch shows 00 officer punching 1110 side 0+` 1110 p:'iscncr’ s 1000
1111011:001310101, 10301?§101: cfiiccr arrived 10 photograph 1110 priccnc1'.=1 1000 1115-ccs
1101 05151001‘ 11011.1011013 that any 1130 0 `1`0100 1cp01'1was 111<:11`111 rcgar& 10 this
incident

  

101013"101<10 W'11115111'c11110 prisouczc 1101150§1 111 1110 lGK 101:1`11155' 1011001011 r1 5301110131011§'
\/1`1'>10111 1111110111111131'§5 0111311 111v11';v111g, 1110 corrections 011`1001‘5 31100115’ 01 11151`110011“}' 1 cr c.xnm 5:110

s L’Wg'w §___55;1§;1`"11 110?`111»051_§1§§' 131 3100011 051)1 01" 11105‘11110111;0 1111_§11111/1;-1;3 2003 51101‘13
11 1110 0 ccc 10 005110115 0135<;05_5101110 cc)‘vu\alwu with 11 1011;01111 12'111-10 cc c 1
111111,01'1~111151111/01<01`11151 1103 _:)1151310011110<_1 '"“11111;,) 11105111'_5011_01 -5;11:0131;11 -.1

111_1:=0001.:11111 11111~\\1111*11 01110 11 1111)10,01‘-111[10 110 1110 11130: 1110 51110111101‘ 311'11§§1011

111 51101001.111111131111`_ 111/1010 11111011101' 011":1:5':1‘ lc 111<011 00 1101- 110-111 1:-: 1113 1013 ‘

_,§`11=: 51113011,_01 1110 111000:<;01113<110 111.01101:1: 01 1110 1'1_ 11 1031 101'1101,=.

1110 511-301;11."11§! 11001:\’ 111 1110 11111111.11151 100111115'; 1010 1110 11111`1.

 

 
  
  

 

 

 

     
 

1'"`0:1111‘1'13111111§ 10111~1 5301101~0 01 p1<1011`1c5 usc 01 fmcc 10r1,1'110\1 111111
11:1,11111115" , 1111<1 111 11101-:5_01113 1111/11311355 1111\1115 011'11'::51 5_1:01 :;`;'1 1'11`1"50= ;:

 

 

 

 

 

 

 

 

 

 

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:~111brnittiri:=;r individ.ia`i reports 1301 example aooording to MDCR recordr~,1 there n'ere 2'_??_.1155 of
" ' _ 1131 Mr:roli :J_i§ij " " `

 

however independently iepoIte<l over l 000 5e oi` force moments just innolving OC spray in
200'?. This level of discrepancy in use of :orce reporting generally end incidents involving UC
spray speeiil ottily, indicates a serious issue oitzntter»reporting use of force incidents lay MDCR
nffioers.

 

 

C. MDCR IS DELIBERA'I`;E§LY INDIFFEF.EN'I` "1"\'3 SERIG`US 'lU-SKS 'I`G §§
PRIS ONER SAFE'I`Y POSED B'Y PR'.lS GN ER ¥'IOLENC`E.

Piisoners have 11 constitutional eight to he protected from harm l%"tu*na er_. 511 l..i S et 832,

Cozi'ections oil-ici 15 he 'e 11 specific duty “to prote et prisonen~:i nom victor ce at the name of

othei 131 isoiiers. ” _i_,d at 333 (int cruel quotation marks end citations omitted). 1\:11'3C'R is violating
thrit oori‘\tituttorlal tight through its del_ioeinte inoltiei once to tl“.e prisonol 'violenoe within tile .-ail

i_ ` t " _p!§§o_ner ittsz_tu_lts,
tlt_e.;ltnl 15 experio*trenw 1hello e\__:i nothing incident §_§sro_l_y mouth tn iact,' 111 11 six- -month
period just prior to oui toor, the Jnil reported o _'er 300 incidents 1 of piisotior-on-orisoner assaults .
just iri tl io _MWDC i`aoility. in that name six month period thc Jail reported ncaryl 250 such
i.- oiclent`s in the PTDC, feoi_litv and eppzr\‘;iiiiote"_y `l?.;'\ §\.'=oli in>ra`:,ob int the Stookodo t`a,oilit§,'l

   

   

      

Not. every injury suffered by a prisoner f the hands of another prisoner Will violate the

E_i,¢_.>,lith end F_ourteent]i Amendments to the Cons.tituti on rIl:e pit §onei' invo`: ing the ri§it must
demonstrate that, {1) he or she was “inoai'oereterl tindei conditions poeing, e §ubstanti;rl risk of
serious herm§" and (2} corrections offn;iels were deliberately niciit"fe ient" to the riskl _l_cl_ at 334.

ooordingiy, Jnil officials mu§t take reasonable steps to protect plieonere from physical violence
and to provido'liuinane conditions of confinement Providing li‘-tnietoe conditions requires that a
con*ections;system satisfy pit soners* basic needs, such as their need 'tor safety._ 151 corrections
ofti-iaft"-s failure to supewise prisonelsp oarticulariy prieonoi§ known to be violent may result in
tnieonstiniti_onal oonclit1 one of confinement whei e assaults between nr;?§oner§ occur due to the _\.
lack of supervision '. " mWj_pw___“i:='n`e;;3 326§ 3d ‘352, 1359--60(11.1`:‘11 Cir 2003) footing there '§
lack of monitoring end supeimsioii ot` kiiov.ni violent` mm ttoo, Whioii led to inmate 011-inmate `:
Violence, constituted impermissible unconstitutional conrlnct).

 

Tlie_"ze 15 a dmgerou§ look ofrneoning["ul supervision 111 tito housing units particulari y the
dormitory settings housing rr\a)iirnttm security pt isoooi§ in PTDC erie the Stool<a<le. ""he

 

 

2 `Wo tot-nil that rn my 115e of force incidents in tl:o lott involved the use ot 90 spiey'. itt
ihe time o~`i' ooi tour M`D{_,'R oio not lime 11 iznitoim §y;: m iri piece tli,rooeiooi the faeilities to
inea§ure foy 15 eigl\t) OC 5111:=.y czir,~.]§toie t`o. llowin;»; t.etrloyrnent ‘oj-_:' o oozi'eotion§ ot"tlcei‘ (or on en
otherwi§e regular ho§iej to en§oie thth the renortor_i nee errors oon§i§tont with the contents of lite

contain-on

 

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‘3 ted 115 p1 i§onti§ o hen ':`1.1.:11‘

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Nni)'.onwtite, prieonc:i'-on-orisone§ omit ore 1111=:`1.¢:1>:1:;)1§1'
rotel;'ftion iior 111 €.‘=- _hei prisoners 1159 . consequence 111 rooortto§; §- -_1ol_1 =1

iepo=: ting §ugge.<;t§ ll1 :.1.`1' the problem Withio Nl i`_?i. 111 iicitilie;s is c\fen greater then t? i_e §tzt»\r\t..
noted in this lo.tor 111:.111i iri.oicalr‘._

    

 

 

 

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-;)_2_.

problems With providing adequate supervision to the units in P'I'DC end the Stool'<e'de stem
largely 'i`rot'n the ontiqnoteo design of these facilities For example there ore no ellioch stationed
inside the majority ot" the dormitory housing units io_ PTDC end the Stock_ade. 'i"iterefore, in
order for MDCR collections oiiioers to view the maximum seemity prisoners housed in most
P'FDC units, the officers must either enter the unit or Well< along it narrow catwalk that sons
behind the-unit The netwle in P'E“DC is not designed for petrol end does not provide access into
the unit should the officer ohcewe an incident that cells for immediate response MDCR
corrections officers patrol the units tegnlsi'l§,rj hut p'risonm's ore swore of the panel schedule and
know when they are, end ere not, being directly supervised A similar situation exists in the
Stocl<;ade_ Most units in the Stoelcade, including those housing maximum security prisonere, ore
dormitory settings without a ct'ri'ree`tiorts oiil`cer present in the unit losteed, officers patrol
outside the several units D'ito to the st:uoture of the units in the Stool<ade, however, officers
patrolling o otsicie the units cannot eiieciively observe the prisoners Without aotually enteiiog the
units to ooi'tdnol direct observation As a resultjr during the time the offich is inside o ootticulet

omit conducting direct ol)ee:~vetion, the remaining units are unsupervised

Super'visioo_ ;;»rohlelus also pcisist in the two units housing male juveniles in'l`GK.. The
male juvenile prisonei‘e ' those prisoners under the age oi`l ii years, but being critninol] y clieiged
as adults under l"lotide state lsi-v) nrc housed on the second iloor ofTGK. The juvenile housing
units ate not eoul_p;;)ed to adequately separate the juve‘oiles according to their elaseiftestion status,
resulting in juveniles oi` mixed seetu'ity levels being housed in the some ‘nnit. The units are oilon
overcrow tied1 oxeee;;rhnti'og security ooncetns by increasing the number oi`.rnixed classification
prisonere housed in close proximity and deci`ooeing the ratio oi“ officers to prisoners Whilt:
coiteotions officers erc posted inside the unit there are blind spots throughout the unit that pose
o danger to officers and otisooers when onlyd a sin gle officer is stationed Wittn'n the unit

Juvenilo prisoners selected es "‘tz’usteee” ore often involved in the incidents oi` violence
'i`rustees assist in the jail operations by cleaning the unit end delivering food trays and hygiene
supplies The "i`rustee program is dangerous end contributes to unconstitutional oondit-ions.
First, ”i‘i'nstees \repoitedly withhold food end hygiene supplies from other prisoners creating a
hi gh risk oi` conflict Second, we observed trustees being allowed ftee movement through the
unit, including secure ez'eas, when not Worlcing, even in nighttime ho‘urs:. Sin'veillztnce videotapes
revealed juvenile prisoners often Wsil<_ing behind the control panel that electronically looks and
nnioci~'.s the individual coil clooi's. R.ej;ioi'tedly, the prisoners on videotape wore “L‘rnsiees” and
Would do this to retrieve cleaning or hygiene stipplles, such as toilet paper Rego::d]css of the
reoson___ it is extsetnelj,' den,<;etoue to allow prisoners to have this type of access to the unj_t’s
control penol, 'l"l.tit‘tl, trustees are i_'opottedly selected based on their ability to physically control
the other juvenile piisoiiets_ luveniie pneonct‘s reported that trustees are ellen asked lay the
corrections otiioet‘s to physically discipline other pristiners.

t We interviewed many oi` the juvenile ptisonet's, most of Whor.o said they did not 1feel safe
in `:lio unit i\f'lost oi`the juvenile prisonels we interviewed spoke o`oout the practice of ‘°te:<lng,"
on unauthorized end nn<ioooetei"_ted method o l discipline in which corrections officers Wili look
down o juvenile j)i'_ieonet' in his cell for title violnl,io)"is ele _i"orce another prisoner lot orisooets} to
inflict oliyeieztl punishment on the liooi<e"~tlo~,\:n'pi‘ieonet'_ The juveniles reported thsl zi“te.‘;"
slso eeo result in extended ioci\'clownsz soi'netiinee lasting no to three cle‘;s.

 

 

 

 

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in oddition, there is evidence that the Jeil fails to take reasonable measures to protect
prisoners from sexual assault The August 20`1[) national survey on Se:tual vietimi?:etion in jails
tied prisons eonducteei by the Department oi`]uetiee’s Buseau of Justice Stetistios found a high
prevalence of sexual viotimi:»;atiou at the Miemi-Dad.e County PTDC=14 111 this report the
Miomi-Dade County }"`I"DC ranks among one of the ts'orst jaile in the oounti;r With a high rate ot`
` tis;iil~i§t"ii"i"?_"tet its'[§e.e_nd S;e§" `et--e§ilsw io`tl:e feeility\ '*{li'e_ittttionzil fatef_fe_r jails is t,§_%;eed 1
_ " _ :@%,15 The O.ti`iee.ot` Jus`tiee"[.’togtoius ofthe Department ot`
tu;st‘:ee:ut§ _ _ '-qeired to appear for a Prison Rupe]~i?limitmtion .»"\et hearing-in " f
“?if"°_;i:<;:lii?`zt tit =, Dt’§ ié'ri"$`eizz§o;utze ,L;i`_._e, 201 1 .[& We intend to monitor-the te$ulfts otthe keating
and euy'i'elated matters-0 f sexual victimizetion et MDCR\

   
  

   
 
 

 

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D. DAN G`}€R() US AND"UNSANITARY C_`!O?{B'l'l`l{)NS EXPOS§E` PRIS()NERS
U`N'WILLIN GLY T(} AN UNREAS ()NABLE KESK {Hl` ]”:L§RM, '

The Bigtith Ameutlmeztt guarantees that prisoners will uotbe “clepri-Je{_d] , . . of the
minimal civilized measure ot"iife’s neeessitiee“” ;Rhod' C',Iti;§;)M 452 U,S. 3_",? 34’§ [1981).
AS tile ‘Due Prooes:~; C]ause'of lite Fourteentl'i Amendmeot effortts tit least the same iiiglitlt
Ai'i'iomlment pi‘oteetion from cruel and unusual punishment to a prisoner of a.`§u'if incarcerated
prior to ti*lei, as it Would to a convicted prisoiier, ?_Ci| _it;li"¢s*ct.t;f:¢ie; 463 U.S, at 244, MDC`Rjail
officials may not deprive prisoners of the milutuel <‘,-wilized J.ueasures of lit`u`s ueoesoitie:;=
./‘\ouoi‘tlingly, M.D CR ol.`l"i' stale must providez et_uoug elliot ueceooities,. "reo:.:onably orlequzite
ventilatiou, Smututiou, bedding hygienic materiele, and utilities {§&.¢, hot end oil-ti water} light
lieut, pittmhin.g,`)"‘ __ §l‘- sti:§ " M, 926 F.?.d 1051 EUGS fll‘tli Cir. 199`t] (e'itutious oir-.itteti`}.
Coutiitious violate the Cou.st;lt_utlou`\'uhee they pose tim mueasonable risk of’serious damage to a
pi'i souer’s current or future jhealth, and the risk is so gave that lt oli'erlds contemporary standards
ot`tteeeriey to expose anyone unwittingly to that tisi§. tile §§ 509 U.S. et 33-35; tiosby, 3?’9
F._‘ld et 1239.

 

     

 

  

 

 

 

The 'Miemi~Dade County leil is failing to ensure that sanitation nod-en‘v£ro ome:ital health
Co:ictitions are nonstatth Win constitutional eta'ndards. Sixnply statet"l, conditions within the kill
tire unsuitable for detention housing posing tmreesoue?:rle risks of eerio\ts litton to prieoriers‘
health and safety 111 pemeulzit, em investigation revealed deficiencies iii the 'to§lowing ai:eus:
(t) ti:e mud life se'iety; (2) housekeeping (3) hygiene and infection control; end (¢t») chemical
control

‘1. The inadequate tire soil life safety systems of the Jo;il pose nn unreasonable
risk of harm to prisoners

lviDCR tolls to ensure act equate tire audi life safety systems throug`uout the .tuii,
gs;‘=.t'tieu.lerty in ]?*'l`i)('j. We oosotvetl iztcrriei'ou:; deficiencies during our tour tl).:'\t orr onge:-' the life
one safety o 'f _oz'i.<s<)n.ers end etef`f. itt the event of a ztji'.e, there are seve'-s:-al stress of the Joil where

 

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1 ' U.S. Department of Justsee, O:t`hee ot` Justice t*t‘ogi:ti‘m.s, Buroau ot Justice 3 must:es,
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;*.Se.w-zit \r-"ictimi;:otion iu I:»?iiooim and Jails I-‘\eported by huttotee,. z.oi,lS--EOGJ,;
§:ttp;!/b_is.ojp.uedoj.gov!iudex,c§t:i?tylle<_teteii]‘&iid==§§£l??: (Augu.s.t ’2(§'§0]_

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“' Pei<m wise elimination m ei"zoos, 'P.L. toe-31st

 

 

 

 

 

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the sprinkler system would not activate or function prop oily because §ptinkler heads were

pointed over or otherwise damaged 'Tlto lack of on operational sprinkler system greatly

increases the risk o:finjot'y and death in a iii‘e. Foi example in P'l`DC East Wiog Coil 2, all six

sprinkler heads Wete noo~fonotional because tiley.lmcl been recently painted over. In P'FDC East

Wing Ceii i, none of the spiinl<:lers Wete operable because of paint ooverings, parte missing or
olotli ropes tied to them On PTDC’§ thirti, tittll, end seventh tloors, sprinkler heads were

oovet‘etl With paint or found to be inoperable for other teasons.

More fires occur in the laundry area ofja,ils than in any other part ot`cooeotiont feciiities}
and in P'l`DC, We obsewecl o clothes dryer with no l=int filters resoiting in a heavy lint
noou~;_nulzttion behind the machine ln 'l`CiK, We obeerveo o clothes dig/or with a detached vent
host:, blowng lint out behind end outlet the machine Dryor lint iS highly Hamrnebl_o end can
cause o fire to spread rapidly

lo the evont of a Serious tire that requires an evacuation ofprisoo,ere from the facilityl it is
oti.tiotil that tile evacuation i$ ooncluoterl ouiolcly; before toxic times begin to develop et thc tire
oite. 'l`herefore, in a jail Setiing, stott should 'oe able to qo`oi<ly access emergency keys that will
unlock all doors along an evacuation roué:e, including the tirin exit door to tito outside of the
building K_eys must be marked so 213 to lie i<l€otiiiztlilo by eigiot find touch llowevor, within the
J oil; l

       

 

      

‘° w ..<?grl " 'te'i*eeietté-it? " '~ ' K'Z»e;i; in WDC, we observed a corrections
officer having difficulty loi:ating the correct key to open the looked box
containing tile emergency evacuation key. When the officer did produce the key,
it was not marked for identifioation 'oy sight and touch

* §§t;"ffo?" ' tit in P’l`DC, the evacuation route leads

prisoners to title small encloseo recreation yot'cl, but the;.'e is no access to the
outside ofthe recreation yatd away from tile facility lnstead, on officer must
unlock the reeteotioo yard intro the outside closing on evacuation This procedure
creates en unacceptable risk of injury end deeth to prisoners imd.statl:`. In
addition, several of the exit Signs in P’I‘DC otero not properly marked and labeled

Wlien MDC,‘R corrections officers Woi:king in control booths Wore asked about tito oaiety
equipment such ns t.`oe self-contained tu‘eotliiog apparatus (“SC'BA"), on et leest two oeoasions,
tito officers could not demonstrate how to properly clete.rn;=ine air 'presetu‘e in the SCBA, even
though such tasks ore required at the beginning on<;l end of each oliift by polioy, and are supposed
to bo documented in log `oool<st, Oto' obeervotione reveal tit-at training is inadequate', log book
dooomontolioo is of questionable Vereoity; otto too ol`tioors ore entiztn;;eri!:ig tl‘o'ooners food
tlietneolves) by their look of l<_ooo¢lodgol

2. The sm'iitntion witl.t,i‘ri tile .}oil is not reasonably adequate to provide minimal
civilized standards of liie’s oeoessitios. m

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hallways unsecured soil unattcndcd, Thc iscla,tion cells in the clinic were lil§hjf. Onc cell
cohialncd s bloody siicct that hall not been removed from the bcd. Thc ilO-i)‘r behind thc lied in
thc unit had s heavy sccsniulai:icn c dirt, papcr, zinrl other debris The cthcr ccll in the clinic
contained a toilet that chinesle had hccn continually used for some time despite a flushing
malfunction

PTDC, a nearly SG-ycsr-clrl facility With structural c_lci`icicnci.cs5 such as crsclr_ccl concrete
suit rusting mc'lal, is dil`ticult, if not impcssi"olc, to adequately clean This is a serious issac
bccsusc:such surfsccs collect diri, dust, and debris Whicii lead to bacterial growth, particularly in
shower srccs. Sii:njls.rlyz the age and condition of the Stcclrridc make it di-ii”i_cult, if not
ii;ripcs:~u"hicll lo adequately clean "['hc consnuction ofthe Stoclcsdc includes ccncrctc surfnccs
that cannot bc acl squarely cleaned by normal cleaning mcthcrls, hud the Wi.urlow claiming tire
sealed with metal grating too small for normal clcssii-ng equipment As a rcsult, dirt and griinc
build up on thcsc sills and ii c carried into thc unit on air currents The Stocksdc units arc ssi-il tc
he cleaned twice a year with s pressure washcr, but the condition of thc units we obscrvcd

suggests that thc power washing is iiicifcciivc cr ton infrequent

ln nrlcition, thc Stocl,;i-irlc is ini`cstcrl with cuts and rorlcnl's. Pccr hcuscl<;ccping
contributes tc thc prcsc:=.cc of these pcsts, Wliicli increases thc risk ofliarrn tc tlic piisoncrs‘
iicsli:li\ Wc nl:)scrvcd signs cl insects and concurs throughout §thc fscilit“ics, including slicavy
infestation oi` drain ilics iii shcwcr and lioci‘ ilraiii's? particularly itt TGK Floor drains zmr.l
shower drains throughout thc facility liarl heavy accumulations cf debris and organic matter,
which scm/c as a foorl source still brccrling site for drain flics. Outl)rc'alrs cf adult 'l'lics lifch bccn
ussccistcrl with bronchial asthma in suscepticlc individuals ’l`hctr presence is a sign cf
insdcquntc housekeeping and sanitationl

'l"GKhOuscl<ccping slsc falls hole W constitutional standards The TGK medical clinic
was in uccd ci immediate cleaning Wc observed sri icc machine in TGK With mold gr<iw“Lh in
thc icc his and nn uncppro vccl icc scoop marie from nplastlc ig lying on thc iccq Molds and
hactcria can tl'uivc in thc cold tcmpci.‘alurcs cf sri icc machinc; therefore such machines should bc
emptied and cleaned regulaer tc prevent illness to those prisoners rand staff consuming thc icc

iii additiona improper stcrsgc, lahcling, and usc cf cleaning chemicals in c corrections
iscil'ity cnn lend to injuries to prisoners (ns well ss stsi`i). Duririg cut tcur, wc observed unsafe
carl inscco.rc stcrsgc ct" clcnniiig chemicals and sprny`bottlcsi Addltionally, bulk containers were
misls‘nclcd or not labeled art nll. "

ll. I__`{ygicne and infection control nrc inadequate in thc 5 :\il1 subjecting prisoners
to nn unreasonable rile cf harm

Coniutjiiriicnolc disca:;cs nist spread in cross wli_crc thcrc is clcsc shin-'tc‘slric contact and
whcrc pcrsnnnl hygienic is <:c;uprouiiscrl. Ovcrcrcwdéng in cci'i'cctioiis facilities will
compromisc personal hygian cl"l`o;'l:s clnc to thc limited numbers ci` facility showch mut si'o‘s,s,
and ovcrl)iurlcuccl s :rviccs such us lzi.rnulry, insintcnsncc, and food preparation `ilvc chscrvcrl

crci'cro\;¢rlicg rural thc associated nrrii)lenis cf personal iiygicnc. `-;.

 

 

 

 

 

 

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§ ln_ addition to overcrowding improper attention to personal liyg§ono and l)iolinztnds ore a
major cause of the spread of disease$ end infections in health cars settings. Wo observ oil several
medical exam rooms With no hand Washing sinks or hand nnnitlzei' dispensers on the wolin fn
7 addition;
4 _N n!?tzi¢,rro " N£i§¢§§l?i#§_?rognr,rro R.ooms'. Tli.o TGK. medical unit contains six
tiog'ztti€ztio-.};ireo§oré tonm§`t`ist;tljforf ;;_i‘?i_w;nors with oo;rioos roopif_§ifoi*ytii_'s ongoi:`, Hoc'n
; nn toboronlosis. “§`lir:-n*e_§é;titfo\air§ré;-;sui'o in soo toonis- §rois?nl~ trn_osoliz»:§tl
_§; gathogons from escaping the pnti__ont’§: room into the hallway ann other areas .
g On`ly one room Was occupio\:l, and when Wo togth tim air pressing it contained
__l_ positive air preosnro.
§ ' oonr:?`§i;§__i;_;§)_§; 111 various medical clinics throughout tlio lnil, we observed
't. ntainéi's for needless and other shorp objects (“sharps oontainem” not securely
f§ mounted or protoctocl. In many cases, the Containe.rs arc kept on the floor under
§§ desks or tablets Wliorr:: they could bo oa§iiy §:iiool<ed oven
il

Fnrthor, proper maintenance of mattresses- plays an important role in preventing the _
spread of diseases and infections in et conootioo_s setting Mattrensos that tire damaged or worn
beyond their ability to bo properly cli$int`eoto;l should be discardod. Wa oi)$orvocl éozens of
matn‘ossos in 1156 or Wniting to boissnod to prisoners that should have been discarded

. Mt, ;-__r-zt o.,-_-=H»_~»-_=:X

Siniil ur to the inadequate mattress maintenance, MDCR laundrth procedures fail to §not‘oct
prisoners from the risk of contagious diseases and in'fections, The latindry operation of the Jail
*€ consists of several laundry moon at oao`li facility Tbere tire on uniform policies, howevor, and
the prooenures, macb.ines, ohainiczls, and sc`lieéules differ in each MDCR facility Son'lo `MD CR
'l"i'toilitios tire en'ipioying domestic grade weinberg mci dtyorn that not suitable for i_n§;titotioual too

 

Wo observed that blankets Woro not woolin t`o't' montos at n timo, and that most prisoner
uniforms wore wonliorl once n week at bost, hot many princnors worn longo Wit`nou!; clean
clothing "l`l'iis practice in onh§_)gionir:- and can contribute to tile s§)ronol ol`di:“t::nso. ~= oven z ' ‘
result o_i" tl:ioao la'x!nriorin§§ practicos, prison or§s n§: too lail moon to W::L==lrin; '1: olot'n€$, in <\'.
and showers nn<l hong the olotl_‘-.os on lines to dry S;’L‘ioli ciotlios lines amato stoo'tn'ily and tito visits
within oorrcctionni nettingo_ -

        

 

 

 

 

 

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it RMDHIMLMRF

 

AS ninth abovo, MDCR is deliberately indifferent to the constitutional deficiencies of its
facilities and is engaging in the use ol’excossivo force against tail prisonersl Wo believe that the
deficiencies discussed in this letter are directly tied to current operational standards Wl'iiclt
grossly fall below what is required by gonernllyjoot§opto'_d connoti:ottal Stttt_§tli§trtds\ 'l`ho.i`ollowi'nf
remedial measures should 'oo immediately implottiiont`i:tl‘ by ivl"§§ toto Go`n?ooft tlio oon$fitoi:t nl
deprivations ontiined`n‘oovo. ’t"he zemodial measures below are consistent with generally
accepted correctional stondards. We. believe that adopting tito following measures Wiil remedy
the constitutional deficiencies found in modionl onto, mental health oaro, prisoner v'iolonoo,
sanitation and environmental hoolth, anal line use of excessive t“oi‘oo.

   

 

 

A. `MENTAL HEAL'I`H CARE AND SUI(`_TH)E PRBVENTI ON
1. Soicido Pi'nvention

Genoi'nlly accepted professional standards ot',` correctional mental health oan mandate tito
development of a soioiclo prevention policyj including o‘-m.]oation by tt psyc:t)iao‘ist and -
oovolopntont of a management plan 'l`ltoso standards motors eight o)j_tionl oomponontn of a
suicide pi~ovontion policy: omit training idontii"icntion!sc§oening, communication hoosing,
lovols of obsorvntion/'assossmont, intorvontion, reporting and lol`lownr;)f`morbicllty-n’iotto_lity
review

'l`o this oncl, MDCR should implement the following inonstn‘es to con‘oot the
constitutional doprivntions:

* R€qoito oor:eotion$ intake screening to include n specific inquiry from
transporting officer regarding whether the incoming poisoner‘s bonnviot"indioato
that hofth is at risk of soioioo.

v Conso denial ofpropoi'ty and privitogosi to acutely inontolly"ill and attitndal
prisoners unless clinically lnt'iioat€d.

- linouro that nooquato pro-isom co and normal iii-noi'vioo Stii'oitl-o_ prevention training
is mandatory for all corrections ot'.tiooi':;, in edioal, and mental health staff Ensni'o
am noeqnato nntn`oor o§" oon'octiot;i..<;3 medical and mental health omit to oontioot
multidiooip§inary pro-nowise and annual in--s:owioo Soioido prevention ti'ttinin“ig nntl
n syston't oi" ot'.ioritiz;:.tion t`oz ottondnoto 'i.n.-ti'oining cl moon

» §>iovitlo at curriculum lot ’[.irem:'otvi-:.o non imm-ial iii-service suicide prevention
training that inol ttlos nn army ct top-iota oo<`t inooi< drillsz stil*tiololit tot omit to `oe
nci.oc§_ontoljg trained to itlont"l`;/ and ii'izi:ing;o suicide tii:;l\'.

z til-osorio tt'int cit:oi:tioos iogeu'z.ling_; olot_iiit"i§§, bonding and other pfo;oorty given to

S-oioiclol nr'i.<soners too r'=;tntlfo i‘.=y Ciini<lol staff on at o;i:st~:~l:)y-cza‘.to basin

1 lé".i;=.sur-i.: that each soioitln| §:)'ri:~;onot l‘-_os n lied n tit tloos not lt:-i‘-./o to Slooo on tila

 

 

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§ tlccr_, §§
' 42
" ii §§
l § .~r Pr<)vidc quality privatc sc'lcidc rile assessments cfrsuicirlrti prisoners orr a daily §- ;
basic
§ ~- En.sure that stuff does not retaliate against prisoners by sending them to suicide z §
-~§_, watch ccilc. Errctrrc that prisonch placed in suicidc watch cells arc apprcpriately
t place<i there based on sound suicide risk ascessmcnts. '
" §§ _ s §
z ' h Clari’r"y M`D Cl?t’s policy regarding levels ct` observation cf suicidal prisoners (c;&, =
§ , , constant observaticn, 115-minute intervals chccl<s, utc_) and crisch that corrections
l ' criticch implement documented appropriate levels cf observation
§§ * lrrrplcrrr_cr‘..t trcatrr)crrt plans for c‘\lic_iclz-li prisonch that identity signs§ Sym{)tcmc,
1 carl preventive mcasrrr cs 'i"cr scicittc risk
,_ v» ltcc;§u'irc adequate-r:zrrcr§_§crrcy intervention training §cr rt’ii Sta Ff that rcgcticl‘ly
interact With ‘§Jrir‘:c_ccrs. Ectcrcc a policy requiring corrections officch tc 'inttirttc ,
C?`P\ if tlzc§' arc tltc first rc.s,prmdcrs tc s'tllclr;lc 9§ttc1rt_pt3_
j::- . \=¢ - ‘
§§ v insure that ctltd.cw.n tools arc rcrmrly avarlcclc tc Stct`l` erc may cc flrth
§ msp-cmich tc >:t:icirlc erttrmpt.s.
§ 1 Cccduct adequate multltlisciplittary mcrt)itlity*mcrtality rcvicws cf all suicich
_ and serious suicide attcmpts {i.e. suicide attempts requiring ltcs:citalizaticn}. A
§§ prclirrttcar_y rcricw should occur within 30 days cf thc incicicnt, and a
.§ § ccirrprcizcn:-:.ivc review should occur Within 30 days cf the completion cf a
§ § ccrcncris report
§ _

' Mcutc§ health t‘rerztmcrit slrcrficl comport with ccnsritcticrrai requirements and generally
§ accepted strurriarti:s cf care tc airl in clac.\§ificr-rricc, identification cf cmcrgcnt mental health cmc
`I = ncccis, provision cl crmtin':_tc'tts care, and management c'l" rrtcdtcraticn. jur cdcf§‘catc correctional
mental health cyclch will cr:»trtrnnr§ly include thc fcilc'-#ing: crisis icterv“crrticn prc grant acute
care prc gram clrrc rric care prcgrrrrrr!s§zccial nccds unit, ct§tpzs.ticnt treatment scrviccs.,
consultation scrr-icc;l, tli.#;clrcrgcr"tracs cr plamli:tg, therapy scrviccs, ach rtcdicctcf`i- rct:rtrl`s ;)§1l
ntcutati ltczt`iLlr prcfcscicncls,

§ 2. lthch tall H_cztlth Carc Trca'tmcnt

 

’l'c this cr)rl, i\=ll}(__`,lt should irr:§.rlcrncr'tt tire t`cllcwing; rrze;rsures tc ccrrcc@; tile
ccnstitt.=tit):.r;rl ricpri'\"f.-'t§.i<,\rr;§:

 

* l~’\c\»'isc intake procedures mci §`crtns tr) adequately screen incoming prisonch r"cr
. ttlrxrrtrrl hczitth issues and cri$rtrc timely access tc mental health prci"cstir,-n&ls wlch
» icc r:ri.acsl.cr :\ §.rr£:scntlng Hy?rip?zcms acquiring much ct\,:c.

 

~ l`rr:‘.c-r§:>crrtl.c titan-tci hccltlr scrcc:tiug results lr\tc §Jdcrmcrs’ ll_|cs and i\'tr[:icrucut e'\

 

 

 

 

 

 

 

 

 

 

 

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formal coromornontion process b otwn on intnko and classification staff

Ensoro that all staff conducting intake screening are trained adoqnntoly, incitining
regarding identification and assessment of suicide risk_, and are given appropriate
tasks and goidnnoo.

lins‘uro that intle soromir.tg is writingth in n setting that provides tile_privscy
consistent With correctional security and which includes specific inquiry
regarding Whotllor an incoming prisoner is oi;nrontly suicidal or has a history of
snicicial behavior.

insure t lnt medical mid mental honitii€ staff conducting screening incorporate tito
contentions screening information into their screening pioooss.

Ensuro that oil reasonable efforts are inncl,e to obtain ar prisooor’s prior mental
host th records and that this information along with all ile C:R screenings, is
incorporated into prisoners charts

Dei'elop ni: d rniplom eni policies and niot:€rtoros to ensure p:isoiio 15 wit'_i serioos
mental hoo;th needs rnooive ti;noiy treatment ns olinicoil_ ap_;>i o[:-riiit<:1 ina
clinically nppropiiate setting

tinsan crisis services and acute onto in nn appropriate thornpontio oni'ironn)r:nt,
including access to beds in n health core setting for short-tenn t.rnntmont (nsnail_y 5
oss than ton oast and rogular, consistent therapy and cormsniing;F

Ensnro flint mental health staff conduct documented iii-person- nssossrnents of
prisoners prior to placement in n special management unit {ssgrogatinn) and on
regular intervals thereafter as is clinically appropriato.

Ei inure nn inpatient level ot care that is available to ali prisoners Wl:._o need it,
including rognlsr, consistent therapy sort oonnsa`z ing

Proi;ici ': nrior§ns‘-.e son site psychiatry covers ge and psychiatry support staff in order
to timely nodross prisoners sen otis mental tionlt‘o needs

En_suio that psychiatrists provide cloonm onth diagnoses o;t`prisonors.
lio§iiornsnr nn announce solindolnsr; nissho m to ensure th"t rirsninl'hei:i '}
§ii*o.:: sounds §€nrnr.iitsll§@ iii §i”isoiiors as olinio:ili y app option r“mnl oss ol`

Wl'i_otli.ei thonrisonei i:: proscribed psychotropic medications,

Erisnrrz that noor§natr: psyoiiollio_rn§ioutic 'o),otiioarion administration is n_l:o'virio<[.

 

liosnr`o Lliniinoirini h,ne;lti: const ai"r `rom nbiot to aooos ini_rriii:rmoriicni records
tlin.t ore rin~to~clntn, nnt‘.ttrzttoz soil that motion s lloli_l.ion_t_|§,-' nii;)ro§)ritité:
information

 

 

 

 

 

 

 

 

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§ §§§§.§.E‘§§§§ ' §§§§§§;§ §§ m§§§§ll§ §§ §§:s§m§§ f§z; §§§§I§_§§ §§§§_ 1§
symptomatic of t§§ prisoner § me§t§§ ill§§S§.
» §ln§§r§ t§§l MDCR’§ q§§§i§y assurance program is adequately maintained to
identify and correct §e§ci§§§l§§ w'l§§ the mental heath o§§§ §ys§§m.
v l’yoi§§§l'§ outpat§§§§§i“f§o`l§§§§ 7-1-§§§§§§1`§;;~§ ' :§oosi§t§m §§f§§§§§ and

 

-§f§§_§.;§§ pr§'§§§§§§§,» §`§r§ §§ th§`§l§§;§§§§l health

 

eo§i,`§$§{ing$ §§ §§§§_1'§.11§§
§§solo§d.

f§§'r§la§- § §§§`;§;él`§§-i`§§§ §§§zi§§§ f§§ pli`§§§§r`_ §§ need of
oa§'of'tl§_ _ _1‘_ io §§"§thol §§§§¥Lt§”'ion §§ §§i§§.`f-\ afge fo §h§
oo- nmo;l§ty I‘llos§ s§rvi§o§ should l§§§od§ the following

 
  
 

  
  

§§ §1'2§! Ll §

   

§.`§§l"§_

 

aj arranging §§ §§poi:§§m§nl with m§m‘,§l health agencies for §§ prisoners with
Sol“ious mental lllnos§;

b) pm\~'ldi§g ref§n~§`i§ for prisoners Wi|;’=;\ § v§:ci§-‘.y of mental h§§l§§ p§'obl§ms;

c) oolil`ylog reception §§u,§§rs at stale prisons When monta§ly ill prisoners are
going to a§dv§; and

d`) armog,;§lg with local p'§§§§'m.aoi§s to l§§v§§'prison§r§‘ prescriptions 'r§ncwod.

3, l\'Ienl:a§ H§al§h C§r§ fleming Uni§s

G§n§c§lly §§§§pt§d professional stmnd§§§§_ of correctional mental health §§§§ r§q§ir§ that
§§n§o§‘lo§§l facili 1§§ provide correctional m§§§§i health §y§§§r§§ that allow prisoners to leave
their cells fm reor§§tion, telephone c§ll§, md visil:§§on, unless prisoners are r§§lmot§d by §
physioi§n` s Writl:e§ oro§rs,

To this findj MDCR §hol§ld illl_=;)l§m§§t the following measures to correct the
§onstlm§ion§l dopri~vations:

1 P§ovic§,§ 1b1 opploprl§te hou;lr-:_l for r_o§ul§l health c§:'o, including a ohiome §:;§'§
§n_,cij§ § §§§o _i§l floods unit lot §rlso§§rs who oa§§ot l`§§ootjon lo fhc §§:: oral
population

0 l-L"“-‘§o~€d§ §§ §§f)p§op§i§§§ }': oosm§_ §mt l*`o' micld§l priz;ol“lois, am allow §§osf:
1':1"13§,.§§5 to! -. “o i§§§ cells l`or L';..§ §§§§11 3 Llo‘vor§ mci mental §o§ltl'§ troal m§§l
§§ §l§.nic:§`lly §§§rop§i§l§.

~ R§mov§ ;§oloicl§§:. :z§'§l.<: §om §§ '. ._§§`s housing §L§:o ido§ [)rl§o§§ls or pl§§o

 

 

 

 

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suicidal prisoners on constant observation

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B~ R’IEDICAL CARE

`MD CR should not deny, significantly del ay, or intentionally interfere with medical
treatment to prisoners To the eontrzuy, MD C`l.i. should provide adequate medical care to
prisoners in need of serious medical attention f

l1 Aerite Care

Genera| | y accepted correctional medical standards require that incoming prisoners be
screened by steth trained to identify and triage serious medical needs, including drug or alcohol
Witlidrawsl, eomm‘=_mi.enl)le diseasesj serious settle or chronic illnesses, mental illness, and
potential soicide risks in -paitienlar, screening for symptoms of ilng or alcohol Withdrawal must
begin at the initial intake or booking process

`..`_;,_m.. oi_.._.¢-:R_`~, =,_,,._",.__¢ _`,_hr_‘"_:~ _,_ho. . .. : .`. lab

ln addition to the initial intake screeningz the initial health assessment of a prisoner is mt
important aspect of corrections health care Adequate end timely health assessments are '
necessary for |lie appropriate treatment c)i`tliose prisoners nine present either acute ns ehi‘o_nie
- needs during intake amounting Genors`ily accepted correctional medical standards require diet eli
§ 7 ' initial health assessment be conducted within fourteen (14_) cirin of admission or sooner when
medically necessaryl initial herd th assessments also provide ii socondei'y screening process for
the identiilnntion of serious medical needs, should tire intake screening procedure fail to do so1 » ;

To this end, lviDCi\ should implement the following measures to mirth the
oonstiti:i’citmol depriv ations:

v Ensure diet adequate intake screening and health assessments ore provided

 

s l`:".nsui'e that intake screening is conducted as soon as possible no inter than 24
hours after prisoners enter the lzn'l. 1

s Ensnre that prisoners are not transferred from title intake area until an intake
screening is completed

 

_; § § linsnre ther trained medical core providers review on a daily o nsis the medieal

i"; j screening i:iloririoiion oi" those prisoners W:iiose Sereen'ing indicates a need for
merlin-si enre, to provide prisoners timely access to s physician as is eiioionil;r
appropriate when presenting symptoms requiring niedieoi osre, with the pit ysieinn
ossessmei;\t occurring no later than 14 days e;i"ter intel-ie,

 

' linsii s dial prisoners’ acute and chronic health needs erc identified in order to
provide odec}_oote medical care

`i » i"`in:‘i.n'o tl'iné; soproprinte drug or aleoliol withdrawal sereerii_o"rg:.is conducted i’or all
prisoners ir.ninedizitely noon entering tile lni§, and osisoners presenting symptoms
‘ oi` drug or illool'ioi wiil'idrewni ore irnn“-;ediotol y evaluated by trained mod iesl care

 

 

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§' profession .

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iiininiss§ssitins;ss;=siisnssis1€sstiifistt;;ssssithdrasnfnl§filiin mass sssle ___lt_sl.

§ 1. Ascess to Cnr_e

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Gcnsrslly accepted correctional medical standards require that facilities like those

§ operated by I\/IDCR maintain s system to track prisoner requests for medical sesss to evaluate _
` Whetlier prisoners are medically assessed in response to their requests land to identify those ‘ ii
prisoners still in need of mod`oa.l care siler the request is mails Morsover, corrections facilities
must provide sppropiisl;o policies and procedures to guide nursing staff on how to conduct sick-
oall assessments and when to refer requests to iiith levels of cars

To this slid, MDCR should implement the following measures to correct the
constitutional deprivations

 

» Ensore that the medical request process for prisoners provides prisoners With .
adequate access to medical onset This process should include logging trsslcing,,
» and timely responses by medical stsfi‘ ss clinically approprlats.
1 Ensnie that trained medical professionals review medical rsr§nssts on a daily
_: basis
l
\. l ie:' Ensnrs that mediosl.'tsiol< call requests ore appropriately ti'iugod based upon the
-_ seriousness of tlio medical lssuo.
ii
§ s Provicle timely medical appointments and foil oW-up medical treatment
§
s; Ensnrs that prisoners receive treatment that adequately addresses their serious
* medical needs
§ Ensure that prisoners receive acute cars in n timle and appropriate mannsr..
_ il. Chronic Cnre
§ flonsrnlly accepted standards t:t` oortsctionai medical soto ssqoirt: that inscliosl staff
l;; iden¥:'ii"y detainees with ch§oni<; conditions such ss t.tis'ben;:sz tobr:iclllnsis, and hosrt disease and
l provide timelyt sntmt:nt for snell oonc.iitions. hills should `iinvs nn assessman process to
l nosq_sistoly iclontify cistninoss With sessions chronic medical conditions `l-"l'isoners Wi‘lo suffst'
1 i`Tt:im cltt‘onio nint'liosl illnesses most lie regularly monitored l:»j/ msd_ic:o_.l professionals lo prevent
z time progression of their illnesses
'l"o this smi, MDCR should implement the following nistssol‘tzs to correct i:lit‘,

constitolionsl §epi“lvstions:

v i}ovt:lop n climate onto plog‘s.m_a §lils nioi_n’n:'n should i__nolut]o ills Foliowl:\.g;

 

 

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we _`.¢W._.,,...,‘......._
~.¢~\

a) a process that Will identi§y prisoners who should be enrolled in a chronic

 

b} a roster of prisoners enrolled in the program

_ E,'__iq~_-Te_¢_~_-.~ .........,V_m ,_:.

e) a schedule ni`medieal visiis §ch each prisoner enrolled in the pregrnm;

d} n system for delennin_ing which__ diagnostic tests will be required for each 5
chronic conditien; and

"-:_-.".~. >>"':+.~.-“" . . .

9 e) reenrd-lceeping which includes dncunientaricin ofliilzernlnry tests and
i-". medical or'clers.

__ ~ Ennure that prisoners receive ihurnngh nineesmenls 'for, and monitoring nfl their
chronic illneese.<;.

5 g limine that etandarrl riiagnn:ztie louis are employed in administer the appropriare ,
preventative care in a timely innnner.

s Aclopt ann implement appropriate clinical guidelines fair chronic diseases such as
HIV, li_\,fper"tensinn7 dinneies., and policies and procedures en, inter alla, timeliness
of access to medical care, continuity of medicatinn, infeci:inn.contrnl, medicine
dispensing intensetionlrletoxiiienii 011, record-keeping disease preventing and
special needs

v Ensure that the medical staff is adequately trained to identii`y prisoners in need of
__ immediate er chronic care, end provide timely treatment or referrals for such
il prisoners.

 

ii Ensure their prisoners With chronic cnndilinns are routinely seen by n physician ns
clinically appropriate in evniun€e the elaine of their healill end §lie effectiveness of
the medication administered for their chronie cnnditlons.

 

4. liiledieal Reeerd Keep‘mg

-i A, critical enmpenenl in providing adequate medical mere is a complete nccurele, readily
accessible5 nmi systematically csrgani;»:ecl rxieL-‘i_e'<rl records system In a enrreclinnnl setting1
inaccurate er iricnmpleie record keeping places prisoners at risk of serin'rls liarrn.

 

 

'l"o this enrl, MDCR Slmulrl implement tire iblluwiiig measures in ei)n'er:t the
eoir'sti£n+-_ionnl deprivnri<ms'.

¢ l`:`.nsrirn llial medical refining are ncleq‘e-ete tn assist in providing medical care and
remaining the medinle care needs rif prisoners l\i‘leclicnl 1”ecqrrisinnsll:>e
nnm;zlcte, ncnuri'ile, legilrle) readily accessible end systematically organized

 

 

 

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;i . , . , .
t a Eosure that eli olrmoel encounters and rewews of prisoners are documented m tire
l priso rors' rocordo.
-i 1 5' ~ linsore that specialty consultations ore timely and that atty resuitirig reports are
|

ry forwarded to medical staff Specialist recommendations should be implemented
' 5 jo a timely nimmer or, where=deemed inoppropriate, a physician should property
§: document why such recommendations were not followed

g

5. Qustity Ass‘dr:mce

C,‘orreotiooa]` fsoitities benefit from having on adequate quality assurance proecss.
Quaiity assurance is rt basic component of clinical practice that is consistent With generally
accepted correctional trledicsl standards

 

'l`o this end i\/.tDC,R s‘r)oo.ld implement the following measures to correct the

55 constitutional depitvr\.tiorts:
a Dovelop and implement sit adequate mortality review system '
t Eosure that the Jz;\.it’s quality assurance system is adequate to identify and correct

serious ' eiioieooies With the medical system
C. USE OF EXCESSIVE FO"RCE
Foroc: used should not bo disproportionate to the threat posed by the prisonor. Abseot

exigent oiroumstao_oes, lesser forms of 'irttervontiort, such as issuing disciplinary iri§reotions or
passive escorts, should be `osed or considered prior to more serious and forceful interventions

.,. nonssz . .r

; O'tlr investigation identified a pstterr_t end premise of excessive force employed by i\ftDCR
§ corrections officers against orisoriers, to d correctional \f`o,cilit§f1 orr effective way to remedy o
pattern or practice arose of excessive force is to address the deficiencies in tire amos ot` policios
and procedirres, training and acoomttability. hnprovoolerit in diese areas Will have the most
n impact orr MDCR in reducing uses of excessive i‘oroe.

 

.,; 1. Policies mut Procedures

-r\ »'l-e=*§uato policies and procedures rogardiog the appropriate use ot` force ore essrotisi to
oosuririg tt prisoners oro riot unnecessarily io._ior::ri by ooo‘<‘:otioris oriicors road corrections
elliot ‘le not oooeoesse. `iy i:i_;'oroci ongog`l:tg‘o,ritti prisoners "i`lie poiioies should oe
oooz:p_ret‘oosi\,-'o, oloz\r, 't'rp~ .o~<§atei acid retlect Correr_-,t generally accepted correctional sterl<i:rrds_.;
Wr: 'l`oo_r.;_L tith Wiiite tv.t`i}l:_,`lt‘s rizzo o[' force poiicy is §Yorterotly adequate :s avrittr:ri; most officers
wore riot §l.izrr with tho ooliojr, Woi]»troioed corrostioris oitio<:rs should be note to :-i “§r.ot>.tl;e
;:g-\,;g§§; riot ‘ ltiioiit hesitation tire level of`prisorier resistance necessary 'f~,r atty oss ol""r`oroe, irs
.' sit appropriate response to restore hurt irroirrtoin ordor.

   

  
 
 

 

 

 

   
  

 

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'r"o this ortd`: i\ftl'i?t",E-t should iropio.rooot the t“oilowing potiojr o?roosorizs to correct the

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~ v'~.~¢_ ~_; i- '¢.M

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2.

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Expressi'y prohibit the use of feres as aresponse to verb al insults or prisoner
threats

 
 

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msim;:iiu;i i;i=irir;: there is 00 mmccim miami th fig sai - _
prisoner s, or staff unless corrections oiiioers have a§tempied a hierarchy rif

documented monphysical aitciiiz:tives.
Exprr.=,:isi}' prohibit the usc of force as punishment

Ez;pressiy prohibit the use cf punchng and slappng to fha 110 ad, absent exigent
circumstances.

Develop ami impleni eni policies and procedures for the effective and accurate
maintenance inventory and assignment ci OC spray and or.her security
equipment

Tr:iinixig

Usa of force training is an iqsentia] tool fair a corrections inciiily 10 ensure that 0{;’§00:3
are singing/ing force 111 a manner consis-*.cm with gmemi‘y a¢,::€piwi confectionle simidai<is, and
not engaging iri exceszaiv@ fo:ccz. Generaiiy accepted correctional standards rcquiic ibm
corrections officers receive ammai refresher 050 of force framing coiir:ses.

Tc) this eiid, MDCR sh0uid impiemeni the following immng riieasures t0 comm the
ccnsiiiutionai depiivatioms:

Devei;)p 011 effective and comprehensive framing program in the appropriate use
of fi)rce.

Ensu;re that annual reiii‘esher hainng is provided to ali MDCE_ officers,h

Ensmre that staff reaeive adequaie compctmicy‘-hased training in MDC`R usc of
force policies and pro sedima

§n~mre thai siafi 1‘»2¢:::11',\»/'-:g aiieqii :.111-1 compeiency- -ha:;::d training in use of i`0- ce ami
defensive i.ei¢.tic;`

Eii.=sure'ihai. MDCR lmii:miii A‘i"`i%iiis management and l:ieif§ receive aiieq‘iiaie
compeieé:icy~h&‘eeci ii‘ziliiiz.ig in conducting invi.Si ig:ir.ion“~, ci 511 icgiiiimi$ 0i`
excessive 'i"c)'rcc::.

 

 

 

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fl. Accountability

Gcoorally‘ accepted con‘cctions standards require a process ofrcporting, administrative
rcvicw, and investigation of each usc of force, This process facilitatcs thc determination of
25 several critical questions including {l`} whether criminm activity has occnn'ccl‘, (2`) Whetilcr
facility procedures have been followcd; ('.‘.~} whetth rcrncdlm training is ncccssory; (4) ththcr
'--§ review or change in policies is rcquirccl; coil (5) 'tht]icr the incident is part of c larger trcnti.
j Wc found that M‘.DCR is oo<lcn‘cporting inc~iclcnts and producing usc of force reports that arc
frequently inaccurate or incotnpicto

 

 

our

To this cnd, MDCR should implement thc following accountability mccourt-iss to correct
the constitutional ocptivntion:i;

 

s iinsotc that st'a§i'“ adequately acli promptly (withio 24 hoors) report all uses of
forch
a i"'lsitc that managctn cnt review of lncicicnt t'cports, usc ot“i`orcc rcports, and

pi'iso:r‘-.ci' gz‘icvztnccs alleging c);ccssi'vo oz‘ inappropriate uses cf force includes a
timely rovicw of rncdiotli records o_t`"_!.nisr;mcl' injui‘ics as rcpottcd ‘o§,’ medical
pr t'cssionols.

v Enso;rc flint incident rc\portsj usc ot`foi'co reports and prisoner gricvonccs arc
screened toy allegations of Sta'li` misconduct onti, if thc incident 01‘ ollog,zttion
meets established critcrj.a; that it is i‘cfci't'crl for investigation

w Dcvclop and implement on adequate system of trnclcing and remaining use of
force incidents by iviDCR ofliccl's. 'l`li.c systcrn should he co nolo of identifying
patterns and trends- t`nat con he oddlesscii through training admnnstrativc, or
disciplian mccsoi'cs,

 

15 D. PRIS ONER VIOLE`NCE

Jail officials most take reasonable stc§.)s to protect prisonch from physical Violcncc and to
'j provide humane conditions ot` confinement Pi~ovidiog hoinonc conditions requires that n
corrections system satisfy otison_ots’ basic riccrls, soc-h as their need for safety

 

'i.`o this cnd, i\/l`DC.R should in'iplcmont too l"ollo‘r~;ing measures to correct thc
constitutional ticpri‘vcn' on;~s:

 

  

o bonnie that corrections ottlc»c-i' starting toto sooo:’vtston icvcls arc appropriate to
§ ziocqontcly import/isc pris on crs.
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*; corrcc.tio:-.'ts otl.`)ccrs inside cash housing unit
v F,zi::ni'c that Stni:€: noncomth non ;,zi'oroolly report irzcirlcnts involving piisonor

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'Dcvclcp a pcc;;;s$_ t` track 111151:1“'10113 incidents that captures 1111 'rc1111f11111

    

1111;`111:1 111111011 111 ,, no 1111,¢111011, any 111;1111:1311, if mcciiir;,§1c;11»_e 1311 1'111_:11,
primary and 31=§:<:1111_111111' staff 11111131111311 remcwmg §1111131“11$1111 c‘§:temal renews cn§i§
1_1:§11113 (1§ apphcziblc}, rem&dyic§s:cn (‘11` &pprcpri _ } H_M} if ,‘~`_i, ___`

    

     
   

lucrcasc video Sut'vcll§a_ncc in midcal housing areas and adjust staffing paitems 10
provide additional direct supervision cf homing 11111.15.

Dcvclop and impicmcnt appropriate training for corrections staff addressing
security admiuis ration and picviding l:`nr proficiency trainin g ' "

Dcvclop a p}zm to reduce and prevent overcrowding most inmcdiatcly the iriplc"
bunking 01 prisonch 111 cclis designed for two prisonch

Dcvelcp and 11111)12 111an policies and crccedurcs for 1111 appropriate cbject`.vc
cla:~ :511`11:&11011 system that sepiu.a,tcs prisoners 111 housing units by classif`icat1c11
icvcls 11101111,1 tc ptotccf; prisoners from Unrcasonablc risk ofharm .

E. FTR 1131 SAFETY AND ENV§RG`NMENTM.J HE`.AI..TH

Gcncratiy accepted correctional standards require adequate -111111111101'1 and 611*1111)11£111=,1:11111
heath 11011<11*11)11.‘.-1l such as ptoch fire gafcty `s.ystcms, sami tat§cn, and 11ng amc materials and
utilities. 111 order to cure its pattern cr practice cf inadequate sanitan'un and environmental
conditicms, the 11111 should ensure that the facilitics’ conditions dc 1101 pose serioua risks to
pnscncrs’ health and safety '1`0 that crid, MDCR Shcu}d imp`§t:m&m; the ibtiowing mcasu:‘es to
correct thc constitutional deprived onS:

1-.

Fire Safety

E11su1'e that 511 faci§itics have adequate fmc and life aafcty equipment that is
property maintained and mspcctcd. `

11an emcnt competency-based testing for staff regarding tire/emergency
1311:»1:@1111111:-1. Tmin and 111111 staff m use Ot`f`1'rc safety equipment

§~§'11'1511111 11111 13111111:§13110§; keys 1119 E~.ppri:);)riatcly marked and consistently sto'rcd 111 11
quickiy accessible locaticn.

1311;1111'11 111111111'1: 111111111:1 and sprinkler S§f:=‘tcms 111‘1'~:111312111¢£1 md adequately
111111111111111:11111 1111 110'11_=1111§ arcas.

Devc§cp 111111 11111;1@11111111pc11c1'cs ansi 11101:1‘.1111:11€- -<)1‘ 1111 control 01`111“1“1'11111|1 111
1116 1110111131, and =11;111v1¢1<)11 111{)1150110'11; 11)1'_11;> have 211:1:1:35 to these cth 1111:11§:1.

 

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..i\,»g\“ eating

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Seiitt§:lt:iou

l`)evelop and implement policies and procedures to empire adequate cleaning and
maintenance of the facilities with meaningful inspection processes and
documentetiou. Suoh policies should include oversight and supei"i'isiou3 as Well
as establish daily cleaning requirements for toilets, showers, and housing uoits.
Eusure prompt end proper maintenance of shower, toilet, and sink utiits.

Ensu,re that medical ei'eas are adequately cleaned and meiriteine:l, including
negative pressure rooms. Ensure that hand washing stations iii medical areas acre
fully equipped, upoietionel, and accessible

Ensui~e proper ventilation end airilow iu all cells end housing units

Dcvelop and implement policies and procedures for c:ivi:euiiig1 handiilig: storing
md disposing of bioheze:cdous mateiiais.

Seoui'e fill Shal'p medical to ols,

Dostruy any mattress that cannot lie sauitizeci sufficiently to kii§ any possible
bacteiie. lnspect and replace us often as needed all ir-a;\/ed end crockett 'mettrossos.

theme adequate pest oootroi, including sufiioieut stating for routine mud follow-
up post control eei"vioes.

"`:H`_§i:g;i§etiei
Enstu:e that laundry procedures protect prisoners from exposure to oontagious
ld.i.sees;e5 bodily fluids, end pathogeus, Develop md implement apolioy for

handling washing and drying ot`leuudry. "I‘rai;o staff end educate pitsoners
regarding laundry sanitation polioies. `

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Pleaec note that this findings letter is apul)lic document lt Will be posted on the Civil
R.ights Diviaion’s We`osit.e. As a matter of courte<;y, we will not post this letter to the ivel)site
until live calendar days from the date of this lettcr. We will also provide a copy oi`tl'tis letter to

any individual or entityL upon request

We hope to continue Working with the County officials in en amicable and cooperative
fashion to roeolve our outstanding concerns regarding the Mlami-Dede County lieil. Since We
toured, MDCR has reported that thc Jail has adopted a number of improvemento, many of which
appear to be designed to address issues raised at the co delusion of our site visita. We appreciate
the leil’s proactive efi`orts. Ncnetlieieas, the deficiencies we identified are serious end systemio,
and We anticipate that a court-enforceable agreement will be necessary to remedy them

We are obligated to advise you that, in the event that We are unable to reach n resolution
regarding our concerns, the Attorney General may initiate o lawsuit pursuant to CR]}’A to correct
the deficiencies ot`tiie kind identified in this letter 49 daye after appropriate officials trch been

notified ofthezn, 42 U.S.C. § l997b(a)(l).

Wc would prei`or, iiowevcr, to resolve all matters by Worldng cooperati'vely With you and
are confident that we will be able to do so in tlii's case The attorneys assigned to this
investigation Wili be contacting the County’s attorneys to discuss this matter in further detail li`
you have any questions regarding this lottcr, please contact lonelliao Srnit`h, Chicf of the Civil

9..

Rights Diviaion‘o Spocial litigation Soction, at (202) 514-5393.

CC-§`

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ll.A. Cu.oves, ]r.
County Atto moy
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Rr)‘ocit Duvztll
Ansistaot County Attorncy
lvliaini~]]adc County

"I`l'le Honorable icc A. i\.dattinoz
jliair, Boord of County i'_lo:nnnlseionct's
Mia.mi-Dade County

'.l'lioina,s E. Perez
Assiatant Attomey General

 

 

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-qU-

Alina T. Hndalc
County Menager
Miarni-Dede County

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Timot.hy P. Ryen

Direotor, Corrections end Rehebilitatioo Depai'tmeot
Miami-D erie County

Tyrone W. Williems, Esq. t

Legal Advisor, Corrections mci R.ehabilitatioo Department

 

 

l [__ Mlomi-Dede County
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' The Honorable Wifredo A. Ferrer
United Statee Attoroey
Southero Distriet ol`Florida
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